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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

  CSX TRANSPORTATION, INC.,
  individually and on behalf of NORFOLK
  & PORTSMOUTH BELT LINE
  RAILROAD COMPANY,

               Plaintiff,

               v.                             Civil Action No. 2:18-cv-530-MSD

  NORFOLK SOUTHERN RAILWAY
  COMPANY, et al.,

               Defendants.
                                          /




           PLAINTIFF CSX TRANSPORTATION, INC.’S CONSOLIDATED
       OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
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         Plaintiff CSX Transportation, Inc. (“CSX”), by counsel, states as follows in opposition to

  the Motion for Summary Judgment filed by Defendant Norfolk Southern Railway Company

  (“NS”) (ECF Nos. 307, 308) and the Motion for Summary Judgment filed by Defendant Norfolk

  & Portsmouth Beltline Railroad Company (“NPBL” or the “Belt Line”) (ECF Nos. 296, 297):

                                        INTRODUCTION

         CSX’s Evidence. CSX is the victim of a decades-long effort by NS, on its own and in

  combination with NPBL, to exclude CSX from on-dock rail access at Norfolk International

  Terminal (“NIT”), the most important marine terminal in the Port of Virginia (“POV”)—a critical

  entry point through which almost all major ocean carriers move international intermodal

  traffic. Defendants’ efforts have so far succeeded, resulting in NS charging supracompetitive

  prices to ocean carriers who rely on NIT and inflicting hundreds of millions of dollars in harm to

  CSX in the form of lost business. NS has demonstrated an astonishing commitment to preventing

  CSX from gaining on-dock access at NIT via the NPBL, maintaining its monopoly through every

  means at its disposal.

         In denying multiple motions to dismiss, this Court found CSX’s detailed allegations about

  Defendants’ scheme, except for one tortious interference count, were well-pleaded. See ECF No.

  66. Now, after many months of discovery, Defendants claim that no reasonable jury could find

  those allegations substantiated. The record and the law disprove this remarkable assertion.

         As Defendants’ documents show, NS has long viewed its stranglehold on NIT as critical

  to its success. NS’s own documents reveal the fundamental motivation underlying its conduct

  towards CSX since 1999: “                           ?” Other documents show not only that NS’s

  strategy of blocking CSX was effectively executed, but also the many ways that NS, both

  independently and in combination with NPBL, inflicted harm on CSX and competition generally.


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         As one example, in 1999, after learning CSX initiated talks with Virginia International

  Terminals (“VIT”), the commercial entity that operates NIT, about “

                ” a senior NS executive asked an NS colleague: “

                ” CSX Ex. 1 (NSR_00306367). The colleague responded: “




                          ” Id.

         As another example, when NS learned in April 2009 that CSX was seeking a lower rate for

  NPBL services to NIT—which would have benefitted NPBL through significantly increased

  revenue—NS moved swiftly to block it through its appointed NPBL “rate committee” members

  and directors. An NS executive wrote to his colleagues:

                                                                                        .” CSX Ex.

  2 (NSR_00084753 at -754) (emphasis added). As demonstrated by this email, NS saw CSX’s

  access NIT as a threat to its monopoly and “

                ” and NS’s rate committee members worked to block it. NS was committed to the goal

  of blocking CSX, and saw the only “challenge” as justifying its blatantly anticompetitive acts. Id.

  at -753. As NS’s Luebbers candidly put it, the NS-appointed rate committee members needed

  simply to “

                                                 ” Id.; see also CSX Ex. 3 (NSR_00177916) (letter

  drafted by NS executives prior to NPBL rate committee meeting, urging NS-appointed directors

  to “

                                                       ”).




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          Lest Defendants protest that these examples arise from earlier points in the conspiracy and

  thus support their statute of limitations arguments, the record also contains evidence of

  Defendants’ actions to block CSX in later years, including 2015 and 2018. For example, when a

  surge in port congestion in early 2015 left CSX with no choice but to pay NPBL’s exorbitant

  switch rate to move traffic to NIT via NPBL, NS-appointed NPBL directors and other NS

  personnel imposed unreasonable hurdles, making these moves operationally unviable. In total,

  NPBL moved only a handful of trains for CSX over a period of many months. Meanwhile, NPBL’s

  Cannon Moss forwarded NS marketing personnel his communications with CSX, expressly so NS

  could protect its own competitive interests.

          CSX knew when it brought this case that it had been precluded from rail access to NIT by

  Defendants’ actions. But now Defendants’ own documents have demonstrated just how far—and

  for how long—NS and NPBL have been willing to go to “block” CSX. As illustrated by the

  vignettes above, and the many more described herein, NS has pursued a decades-long campaign

  to keep CSX out of NIT via rail in order to preserve its own interests. It did this both with NPBL

  and also at the expense of NPBL, as the Complaint detailed and the evidence now shows.

          The record amply supports CSX’s claims and would certainly enable a reasonable jury to

  find for CSX with respect to both liability and relief. Summary judgment should be denied.

                                                   ***

          Defendants’ Arguments. Defendants’ arguments in favor of summary judgment rely on

  errors of law and assertions of fact that are, at the very least, disputed (if not directly contradicted

  by Defendants’ own documents). Moreover, the Court should evaluate Defendants’ current

  arguments against the backdrop of the inconsistent arguments, positions, and concessions they

  have previously advanced. Most strikingly, NPBL claimed at the motion to dismiss stage that it


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  was incapable of conspiring with NS because the Defendants were a unitary entity under the

  Copperweld doctrine. See ECF No. 66 at 29. After its first motion was denied, NS filed a new

  motion to dismiss, belatedly claiming it “control[led]” NPBL. That motion remains pending. See

  ECF No. 115. But these arguments appear to have been forgotten by Defendants, who now argue

  there is no evidence of collusion. Defendants never bother to explain how they can assert that, on

  the one hand, they are a solitary unit with one controlling the other, while on the other hand claim

  there is no evidence from which a reasonable jury could conclude they worked in concert.

         NS’s tardy, still-pending motion to dismiss and for judgment on the pleadings also asserts

  that “NSR’s exercise of control over NPBL—which is directly at issue in this litigation—is exempt

  from the federal antitrust and state law conspiracy claims asserted by CSXT.” ECF No. 116 at

  10. This was a curious argument at the time, considering NS had conceded this point in its first,

  unsuccessful motion, but it is more curious still to see that NS has barely acknowledged this

  “exemption” argument in its current motion. Indeed, NS only notes briefly in passing that STB

  oversight “militates against antitrust intervention here.” NS Br. at 32.

         The arguments Defendants do advance at this stage fare no better, whether as a matter of

  fact or law. Defendants contend, for example, that CSX’s antitrust claims are barred by the

  applicable limitations periods. It is well-settled, however, that Defendants cannot rely on the

  statute of limitations to escape the consequences of their continuing antitrust violations.

  Defendants’ statute of limitations arguments as to CSX’s other claims fail for the reasons this

  Court previously identified in ruling on Defendants’ motions to dismiss, which are now borne out

  by the factual record. Defendants also claim that the actions of NS-appointed NPBL directors

  cannot be attributed to NPBL for purposes of conspiracy. This argument misstates basic tenets of

  agency law, which provides that an individual director can be found to act on behalf of the


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  corporation that he or she directs. It further ignores the substantial record evidence of conspiracy

  not involving the NS-appointed directors.

         Defendants also argue that CSX has not properly supported its antitrust claims. NS’s

  arguments about unilateral conduct and essential facilities are wrong on the law, and its

  protestations about the market ignore the realities of international intermodal transportation. NS—

  which maintains nearly 90 percent of international intermodal business at NIT and nearly 75

  percent at the Port of Virginia (“POV”) intermodal terminals—also suggests that CSX should not

  complain about the anticompetitive harm inflicted because “CSX’s intermodal container traffic at

  NIT has increased by over 700% since 2010.” NS Br. at 1. This statistic is misleading, as

  evidenced by the fact that such an increase in CSX’s traffic has nonetheless failed to make a dent

  in NS’s monopoly hold on the market. That NS would exaggerate the significance of CSX’s

  growth at POV is unsurprising, in light of the substantial evidence showing NS’s use of every tool

  at its disposal to combat CSX’s efforts to economically access NIT. Between 2010 and 2020, the

  total volume of international intermodal business at the Port of Virginia increased substantially

  through infrastructure improvements and the expansion of the Panama Canal. CSX has competed

  vigorously for business wherever it can, despite the illegal constraints imposed by NS and NPBL.

  But CSX’s share of international intermodal traffic at NIT remains a small fraction of NS’s.

  Indeed, the empirical data show that the vast majority of CSX’s gains in market share come from

  its success at POV’s other container terminal, Virginia International Gateway (“VIG”)—where

  CSX is able to offer on-dock rail service and thus compete on equal footing with NS.

         Defendants remaining arguments hinge on disputed facts that must be resolved by a jury.

  For instance, Defendants insist that CSX has access to NIT via NPBL, but just chooses not to pay

  the rate to use it. The record evidence shows, however, that the rate is set at a level designed to


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  completely insulate NS from competition, and which has had the intended effect of making it

  economically infeasible for CSX to use NPBL for intermodal traffic. Defendants also suggest that

  NPBL could not accept CSX’s proposals due to the “uniform rate” provision in its Operating

  Agreement—an argument this Court already rejected at the motion to dismiss phase. A reasonable

  jury clearly could find that CSX proposed a rate for intermodal service to NIT, which could have

  been published in a tariff and “uniformly” applied to other customers wanting to use the

  service. Moreover, missing from Defendants’ briefs, despite their protestations that the $210 rate

  is required to cover NPBL’s costs, is the fact that every time NPBL management evaluated CSX’s

  proposals, it determined that it would make a profit at the rate proposed by CSX. Why would

  NPBL not adopt a proposal it considered profitable, that would mutually benefit itself and one of

  its owners, and that would be consistent with the purpose for which it was created? A reasonable

  jury could easily conclude on this record that the answer is the conspiracy between itself and NS.

  Not to mention, even when CSX paid NPBL’s excessive rate to move trains in 2015, Defendants

  acted in concert to prevent CSX from reasonably accessing NIT at any price.

         The record reflects overwhelming evidence of conspiracy and anticompetitive conduct,

  supporting CSX’s timely claims and undermining Defendants’ arguments. Though NS suggests

  NIT is fungible with any other port on the East Coast, the record evidence and its own actions belie

  that claim. The Court need look no further for evidence of monopoly power and exclusionary

  conduct than NS’s own documents, which demonstrate its deliberate and persistent efforts to keep

  CSX out of NIT at all costs because, in its own words, it had “the most to lose.”

         Defendants’ motions should be denied so that a jury may weigh the evidence.

                       STATEMENT OF DISPUTED MATERIAL FACTS

         Defendants’ statements of fact overlap considerably. CSX responds to both in a consolidated


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  fashion here, with citations to the specific paragraph numbers from each. CSX does not dispute the

  facts contained in NS SOF ¶¶ 1-3, 5-7, 13-14, 18, 46-47, 51, 53, and 57, or in NPBL SOF ¶¶ 1-5,

  11-14, 16-17, 20-22, 34, and 37.1 All other facts are disputed, as explained below.

        I.        The Parties
                  [Disputed: NS SOF ¶¶ 4, 16-17; NPBL SOF ¶ 6]

             1.      CSX and NS are Class 1 railroads operating in the eastern United States. NS SOF

  ¶ 1; ECF No. 66 at 2. NPBL is a terminal switching railroad (sometimes called a “short line”) in

  Hampton Roads, Virginia. NS SOF ¶ 2; NPBL SOF ¶¶ 1-2. NPBL is currently owned 57% by

  NS and 43% by CSX. NS SOF ¶ 3; NPBL SOF ¶ 4.

             2.      NPBL was founded by eight railroads in 1896 “for the mutual benefit of each [of

  the railroads] in the interchange of business.” ECF No. 1-1 at 3. NPBL’s Operating Agreement

  provides that each railroad will have “equal representation” in the Belt Line, see id., and that each

  must “co-operate cordially in encouraging the business of the [NPBL],” id. at 6.

             3.      In 1989, the NPBL’s then-existing owners—CSX, Norfolk and Western Railway

  Company (“NW”) and Southern Railway Company (“SR”)—agreed to amend “Article Fourth” of

  the Operating Agreement to allow CSX to appoint two directors and NW and SR to collectively

  appoint three.2 NS SOF ¶ 3, NPBL SOF ¶ 5. This agreement expressly did not “amend, alter, or

  affect any other provision of the NPBL Agreement.” NS Ex. 3 ¶ 2.

             4.      NPBL’s president is the sixth voting member of the Belt Line’s Board. NPBL SOF

  ¶ 5. Since at least 2005, the NS-controlled NPBL Board has installed a former NS employee in

  this position. See CSX Ex. 4 (Wheeler Dep. 31:18-22); CSX Ex. 5 (Coleman Dep. 27-17-21;




  1
      CSX refers to its exhibits as “CSX Ex.,” NS’s as “NS Ex.,” and NPBL’s as “NPBL Ex.”
  2
      NW and SR subsequently finalized their merger, becoming NS. See NS SOF ¶ 3 & n.2.
                                                    7
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  53:11-13). The two most recent past presidents, who served from 2005 to 2011, returned to work

  at NS following their tenures at the Belt Line. See CSX Ex. 4 (Wheeler Dep. 32:1-4); CSX Ex. 6

  (NS’s Resp. to CSX’s Interrog. No. 1 at 9, 14). Current NPBL President Cannon Moss has made

  clear he intends to do the same.        See CSX Ex. 7 (Moss Dep. 24:1-11); CSX Ex. 8

  (NSR_00005707); CSX Ex. 9 (NSR_00071467). Donna Coleman—NPBL’s Vice President,

  Comptroller, and Corporate Secretary and a non-voting member of the NPBL Board—is also a

  former NS employee. See CSX Ex. 5 (Coleman Dep. 9:15-16, 20:6-9).

         5.      Under the Operating Agreement, the Belt Line’s purpose is to interchange railcars

  for its owners, meaning that NPBL receives cars from NS or CSX and delivers them to locations

  on its tracks, or vice versa. NPBL SOF ¶ 3.

         6.      One location for which NPBL provides switching services is Norfolk International

  Terminal (“NIT”), the largest marine terminal in Virginia and one of the most important terminals

  for international intermodal cargo on the East Coast. See NS Ex. 7 ¶ 24 & Ex. 3; NS Ex. 71 ¶ 53

  & Ex. 4. NIT is owned by the VPA and operated by VIT. See NS SOF ¶ 18.

         7.      NS has access to on-dock rail at NIT over its own tracks.3 NS SOF ¶ 14. NS

  currently travels through NIT in a continuous clockwise fashion, in part by traversing tracks owned

  by NPBL, for which NS pays a nominal trackage rights fee. See CSX Ex. 10 (Hunt Dep. 20:2-

  22:24); CSX Ex. 7 (Moss Dep. 164:6-16).

         8.      NPBL has on-dock access at NIT via trackage rights over NS’s tracks. NS SOF

  ¶ 14. NPBL currently can enter and exit NIT using the terminal’s “North Gate.” See NS SOF

  ¶ 17. Railroads effectively manage operational patterns much like NPBL’s at other terminals. See



  3
   The term “on-dock” refers to a railroad’s ability to move its train into a marine terminal so that
  containers can be loaded onto railcars either on or near the dock itself. See NS Ex. 10 ¶ 25.
                                                  8
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  CSX Ex. 11 (2d Girardot Decl. ¶ 10); CSX Ex. 12 (2d Girardot Dep. 86:24-93:12). Tom Capozzi,

  VIT’s Chief Sales Officer (see NS SOF ¶ 18), testified that “                              ” about

  NPBL’s route at NIT.4 CSX Ex. 13 (Capozzi Dep. 40:9-20).

            9.        Although NPBL does not compete for ocean carrier business, NS SOF ¶ 4; NPBL

  SOF ¶ 6, NPBL and NS are the only two means to access on-dock rail at NIT, see NS SOF ¶ 14.

      II.         “                          ?”: NS and NPBL Conspire to Block CSX at NIT

            10.       For more than two decades, NS and NPBL have conspired to maintain NS’s control

  of intermodal freight moving by rail through the Port of Virginia (“POV”). Defendants have

  produced dozens of internal documents and communications evidencing this conspiracy and the

  many overt acts committed to further it. See CSX Ex. 14 (CSX’s 2d Supp. Resp. to NPBL’s

  Interrog. No. 3 & 4) (describing documents reflecting NPBL’s participation in the conspiracy).

            11.       Defendants’ goal is to block CSX’s ability to access on-dock rail at NIT. For

  example, after learning CSX initiated talks with VIT “r

            ,” NS VP of Intermodal Michael McClellan asked an NS colleague: “

                                  ?” CSX Ex. 1 (NSR_00306367) (emphasis added). NS intermodal

  manager Augie Eckhardt responded: “



                                                                                              .” Id.

  (emphasis added). Defendants eventually did increase the NPBL switch rate and formulate a

  trackage rights “dispute.” See CSX SOF ¶¶ 56-61.



  4
   Although NS suggests NS’s and NPBL’s varying routes mean “two trains cannot be on the tracks
  at the same time,” none of the documents cited says that. See NS SOF ¶ 17. Moreover, as the
  cited testimony from CSX’s former Portsmouth terminal manager Tony MacDonald shows, any
  challenges associated with NPBL’s current route or coordination with NS trains could be alleviated
  by the Port or NS allowing NPBL to access NIT via the southern gate. See NS Ex. 19 at 93:9-14.
                                                 9
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          12.      As NS’s VP of Strategic Planning has explained, CSX’s ability to compete for

  international intermodal business is limited because                                       .” CSX Ex.

  18 (NSR_00071344) (emphasis added).

          13.      NS has handled between       % and     % of international intermodal business at the

  Port of Virginia—and between         % and     % at NIT—between 2009 and 2020. See CSX Ex. 6

  (NS’s Resp. to CSX’s Interrog. No. 6); NS Ex. 71 ¶ 111 & Ex. 13.

                a. Defendants Use NPBL’s Switch Rate to Block CSX
                   [Disputed: NS SOF ¶¶ 42-44; NPBL SOF ¶¶ 7-8]

          14.      One way Defendants have blocked CSX’s access to on-dock rail at NIT is through

  NPBL’s switch rate. Although the NPBL Operating Agreement states that “a uniform rate shall

  be fixed for the movement of freight cars . . . regardless of distance,” see NS SOF ¶ 42; NPBL

  SOF ¶ 7, the NPBL Board has the ability to and historically has “agree[d] to override” this

  provision, such as by approving rates that vary by commodity type and international versus

  domestic business.       CSX Ex. 5 (Coleman Dep. 137:21-138:8); see also CSX Ex. 19

  (NSR_00027070) (“[

                                                               CSX Ex. 20 (NSR_00306443); CSX Ex.

  21 (NSR_00306377).

          15.      The Operating Agreement also provides that the NPBL rate may be “adjusted from

  time to time as to yield a net revenue sufficient to pay . . . a dividend of six per cent” to its owners.

  ECF No. 1-1 at 6. Defendants suggest that this provision prohibits the Belt Line from earning any

  profit, see NPBL SOF ¶ 7; NS SOF ¶ 43, but nothing in the Operating Agreement prohibits NPBL

  from earning revenues in excess of the 6% dividend, and NPBL’s own documents reflect that

  profitability is one of its goals. See, e.g., NPBL Ex. 4 (NPBL Annual Reports 2010-2019, each

  describing intent to “                                                         ”).

                                                     10
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          16.      NPBL periodically convenes “rate committees,” purportedly to “evaluate and

  propose adjustments to the switch rate to the NPBL Board for a vote.” NS SOF ¶ 44; see also

  CSX Ex. 22 (NPBL009639). Historically, these committees have been comprised of NPBL

  management and NS and CSX personnel. See CSX Ex. 5 (Coleman Dep. 110:6-15).

          17.      NS has long used NPBL rate committees to monitor CSX’s activities in the region

  and preserve its control of NIT. See, e.g., CSX Ex. 23 (NSR_00199532) (1999 message from

  NS’s Bob Belvin to members of the 1999 NPBL rate committee and NS-appointed NPBL

  directors, stating that

                                                                ”); CSX Ex. 24 (NSR_00306424)

  (email from NS intermodal market manager Chris Luebbers, summarizing 2002 rate committee

  meeting, including NS’s concern that



                                                              ”); CSX Ex. 25 (NSR_00306426 at -

  427) (email from Luebbers, summarizing 2006 committee’s recommended



                             ”).

                b. The 2009 Rate Committee

          18.      In 2009, NPBL convened a rate committee “



                        .” CSX Ex. 26 (NSR_00074104 at -107).

  “                                                                                    . CSX Ex.

  19 (NSR_00027070 at -071). As part of the discussion, CSX recommended NPBL reduce its rate

  to allow for CSX intermodal traffic to NIT, which would increase NPBL’s revenues. See CSX


                                                  11
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  Ex. 27 (CSXT0080856) (June 2009 letter from CSX’s Tony Ingram to NPBL’s David Stinson);

  CSX Ex. 19 (NSR_00027070 at -073).

         19.    The NS-appointed members of the NPBL rate committee had a different goal. As

  NS’s Chris Luebbers explained in an April 2009 email to NS-appointed rate committee members

  Liesl McLemore and Gregg Cronk: “[

                                                                        CSX Ex. 2 (NSR_00084753

  at -754) (emphasis added). According to Luebbers, the rate committee was a high priority for NS’s

  intermodal group because “

                                                                .” Id. at -753.

         20.    NS rate committee members internally discussed how to combat CSX’s position

  “

                                      .” CSX Ex. 28 (NSR_00084730) (emphasis added); see also

  CSX Ex. 29 (NSR_00027114) (April 2009 email string with Luebbers, NS’s VP of Intermodal &

  Automotive Jeff Heller, and NS-appointed NPBL director Mark Manion, discussing trackage at

  NIT, which Heller describes as “                                ”); CSX Ex. 30 (NSR_00011118)

  (April 2009 email from NS’s Luebbers to NS rate committee members McLemore and Cronk,

  warning that a lower NPBL rate at NIT “

                                                          ”).

         21.    Two days before the rate committee’s July 2009 meeting, NS intermodal executives

  drafted a letter to NS-appointed NPBL director Mark Manion and the other NS-appointed members

  of the NPBL Board, titled “                                                        .” CSX Ex. 3

  (NSR_00177916). The letter describes that “




                                                 12
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  analysis supporting the       per car unit train rate proposed by Belt Line management. CSX Ex.

  32 (CSXT0082145 at -146). CSX also proposed adding a volume-based discount to the line-haul

  tariff, to increase NPBL’s revenue and “sharply enhance [NPBL’s] business prospects and

  competitive offerings.” Id.

         28.      The NS-appointed rate committee members submitted a formal recommendation

  opposing the $     rate. CSX Ex. 33 (NSR_00035548). They recommended the NPBL Board

  disapprove this rate because “

                                                       ” Id. at -549.

         29.      In December 2009, NPBL management presented the Board with proposed tariff

  changes, including the $210 line-haul rate but not the $       per car unit train rate or the volume-

  based discount proposed by CSX. See NPBL Ex. 19 at -302, -318. The three NS-appointed NPBL

  directors voted to adopt the changes in the NPBL proposed tariff “

                            ” See id. at -302. Neither CSX-appointed director voted to approve the

  tariff. Id. The $210 rate became effective on January 1, 2010, and it remains in effect today. NS

  SOF ¶ 47; NPBL SOF ¶ 8.

               c. CSX’s 2010 Proposal
                  [Disputed: NS SOF ¶¶ 54-55; NPBL SOF ¶¶ 25-27]

         30.      In early 2010, in response to NS’s purported desire to review a “

                                 ,” see CSX Ex. 33 (NSR_00035548 at -549), CSX developed a

  comprehensive plan to access on-dock intermodal container service at NIT via NPBL. See NS Ex.

  91 (NPBL007431) (“2010 Proposal”). In the 2010 Proposal, CSX proposed paying NPBL $37.50

  per container for intermodal traffic to and from NIT, a rate higher than that charged by

  Commonwealth Railway (“CWRY”), the short line providing switching services to NS and CSX

  at VIG, the terminal just across the Elizabeth River from NIT. Id. at -433. To reduce any risk to

                                                  15
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  NPBL, CSX included a volume commitment, see id., and offered to allow NPBL to use CSX’s

  locomotives and fuel for free, id. at -432. The 2010 Proposal also included a detailed operating

  plan. Id. Given NS’s recommendation that NPBL should negotiate “                     ” instead of a

  tariff, see CSX Ex. 31 (NSR_00035903 at -905), CSX offered in the 2010 Proposal to memorialize

  the proposed terms in a contract, see NS Ex. 91 at -433; see also NS SOF ¶ 53, though nothing in

  the proposal was inconsistent with the rate being applied to other NPBL customers.

         31.    David Stinson, then-president of the Belt Line, responded to the 2010 Proposal on

  August 5, 2010. See CSX Ex. 34 (NPBL007438). Stinson stated that CSX’s proposal would

  require hiring more personnel, which he projected would reduce NPBL’s potential increased

  operating income under the proposal from $146,000 to $85,000. See id. at -438; see also CSX Ex.

  35 (Stinson Dep. 164:19-167:11) (NPBL management did no analysis suggesting the proposal

  would not generate positive operating income). Stinson also questioned whether the proposal

  complied with the Operating Agreement’s “uniform rate” provision (see CSX SOF ¶ 14), and a

  prohibition on “foreign” locomotives in the NPBL by-laws. See CSX Ex. 34 at -438. CSX

  promptly addressed Stinson’s concerns, explaining that it was not opposed to the proposed rate

  being incorporated into NPBL’s tariff or NPBL using its own locomotives (which are leased from

  NS). See CSX Ex. 36 (NSR_00000781 at -819); CSX Ex. 37 (Armbrust Dep. 203:1-14). Stinson

  testified that this response addressed his concerns. See CSX Ex. 35 (Stinson Dep. 157:1-159:24).

         32.    Shortly after CSX submitted the 2010 Proposal, NS began to “review” it. See CSX

  Ex. 38 (NSR_00073997). NS’s Chris Luebbers—an intermodal sales and marketing manager with

  no operational experience and no affiliation with NPBL (see CSX Ex. 4 (Wheeler Dep. 123:5-

  13))—took the lead. Over the next several weeks, NS employees worked to identify economic




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  appointed members of the NPBL Board moved to table the vote “

                 .” Id. The motion at first did not pass because Stinson voted against it, along with

  the two CSX-appointed directors. Id. An amended motion to table the vote, which promised that



                   was unanimously approved. Id.

         38.    On March 1, 2011, NS’s Jeff Yates rejected Stinson’s request for service to NIT in

  connection with the 2010 Proposal. See CSX Ex. 45 (NPBL012988). This letter does not mention

  (much less “address”) the locomotive issue discussed at the December Board meeting.

         39.    On April 11, 2011—approximately eight months after CSX’s proposal was

  tendered to NPBL for consideration—NS-appointed NPBL director Jake Allison emailed NPBL’s

  Donna Coleman, stating for the first time that the NS-appointed directors believed




                                                                                               CSX

  Ex. 46 (CSXT0110423). Allison also said the NS directors did not believe the Board could




                                                             , see CSX SOF ¶¶ 14, 26.

         40.    At the April 2011 NPBL Board meeting, a vote was requested on the motion about

  NPBL’s use of CSX’s locomotives. See CSX Ex. 47 (NPBL017933 at -938). The motion did not

  pass because all NS-appointed Board members voted against it.6 Id. Soon after, NS removed




  6
   Defendants’ suggestion that the 2010 Proposal was never raised for a vote (NS SOF ¶ 55; NPBL
  SOF ¶ 27) ignores the evidence reflecting multiple attempts by CSX to obtain a vote on core
                                                18
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  Stinson as president and replaced him with current NPBL President Cannon Moss, who had been

  employed in a business development role at NS. See CSX Ex. 7 (Moss Dep. 15:21-16:7).

         41.     When NS first nominated Moss as Stinson’s replacement, CSX expressed serious

  concerns about his qualifications based on his limited experience with rail operations. See CSX

  Ex. 48 (CSXT0127526). CSX proposed a candidate with significantly more relevant experience,

  but the NS-appointed members of the NPBL Board refused to interview him and installed Moss

  over CSX’s objections. See CSX Ex. 49 (CSXT0027044) (Sept. 11, 2011 memorandum from

  CSX-appointed directors, asking the Board conduct interviews before selecting a new president);

  CSX Ex. 50 (CSXT0000508) (Sept. 14, 2011 Board minutes reflecting Board agreed to table

  election pending interviews of proposed candidates); CSX Ex. 51 (CSXT0000509) (Sept. 19, 2011

  Board minutes installing Moss as president without conducting the requested interviews and

  without all CSX directors present).

         42.     Defendants suggest that, in developing the 2010 Proposal, CSX did not consider

  NPBL’s costs. NS SOF ¶ 54; NPBL SOF ¶ 26. None of the evidence cited supports this

  conclusion. First, all of the testimony from CSX witnesses relates to the 2009 rate committee, not

  the 2010 Proposal. See NS Ex. 92 at 69:4-8, 72:7-11, 123:19-124:4 (John Booth testifying that, in

  supporting the 2009 rate committee, he did not personally review NPBL’s costs, because “[o]ther

  folks on the committee . . . dealt with that”), NPBL Ex. 20 at 124:2-4 (same); CSX Ex. 52 (Allan

  Dep. 127:7-135:15) (CSX’s James Allan testifying that the recommended volume-based discount

  was based on revenue, not cost, but also noting CSX did consider incremental costs to NPBL

  associated with additional traffic). The only cited testimony pertaining to the 2010 Proposal comes




  elements of the proposal, as well as the evidence of artificial barriers constructed by NS to delay
  and ultimately prevent a vote. See CSX Ex. 37 (Armbrust Dep. 211:17-213:7).
                                                 19
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  from NS’s Mike Wheeler, who said that the NPBL Board

                                           . See NS Ex. 80 at 117:14-118:7; see also CSX Ex. 4

  (Wheeler Dep. 119:16-120:6) (

                         ”). The financial analysis requested by NS-appointed directors showed the

  Belt Line would cover its costs and make money under either scenario. See CSX SOF ¶ 36.

               d. Defendants Impose Logistical and Operational Obstacles to Access NIT
                  [Disputed: NS SOF ¶¶ 15, 63-67, 75-77; NPBL SOF ¶ 10, 15, 19, 28-33, 35]

         43.      In 2008, NS discontinued service on a segment of track located near NIT, often

  called the “Diamond,” where NPBL had maintained trackage rights.7 NS SOF ¶¶ 76-77; NPBL

  SOF ¶¶ 19-20. The Diamond had allowed NPBL to access NIT via “an efficient, progressive

  move.” CSX Ex. 53 (Girardot Decl. ¶ 7). Without it, NPBL trains carrying CSX intermodal

  freight must travel a longer distance and move into NS’s Portlock Yard, where engines have to be

  attached to the back of the train before proceeding along NS’s track (where NPBL has trackage

  rights) to NIT. Id.; see also CSX Ex. 7 (Moss Dep. 170:11-172:20); CSX Ex. 10 (Hunt Dep.

  159:3-160:7). As the Port of Virginia has recognized, this increases CSX’s operational costs to

  access NIT. See CSX Ex. 54 at 23; see also CSX Ex. 53 (Girardot Decl. ¶ 7) (removal of Diamond

  results in long delays and unequal treatment relative to NS trains); CSX Ex. 55 (Girardot Dep.

  93:5-95:20) (describing burdensome operations required to access NIT via NPBL without the

  Diamond); CSX Ex. 56 (NSR_00011108) (2009 email from NS’s Luebbers, explaining that the

  Diamond “was conveniently removed when the Ford plant shut down”).

         44.      In 2009, NPBL rejected CSX’s offer to purchase the Belt Line’s Port Norfolk Yard




  7
    Although NPBL suggests the NPBL Board agreed to discontinue its trackage rights due to
  “costs,” NPBL SOF ¶ 19, the meeting minutes cited imply the Board discussed costs associated
  with an “alternative route” to the Diamond. See NPBL Ex. 16 at -847.
                                                20
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  traffic for CSX until March 2015.         CSX Ex. 5 (Coleman Dep. 179:10-19); CSX Ex. 61

  (NPBL010915). At that time, during a period of extreme port congestion across the East Coast,

  CSX paid NPBL’s $210 rate to move backlogged freight at NIT, recognizing that doing so under

  these circumstances would “                                                            .” CSX Ex.

  52 (Allan Dep. 172:16-173:9); see also NPBL SOF ¶ 33.10

         46.     To move this traffic, NPBL President Cannon Moss requested that NS provide a

  window during which NPBL could operate a CSX train across its tracks to NIT. CSX Ex. 61

  (NPBL010915). This request met with a negative reaction within NS, culminating in NS’s VP of

  Transportation and NS-appointed NPBL Board member Terry Evans responding: “

                                                                                  ” Id. at -915.

         47.     Although NS eventually agreed to provide an operating window for this train, it

  voiced “

                          .” Id. at -917; see also id. (“[



                                                                                                   .”).

  NS outlined strict parameters restricting how and when NPBL and VIT were to move this single

  train. Id. VIT’s Tom Capozzi testified that                                                       .”

  CSX Ex. 13 (Capozzi Dep. 238:12-239:9); CSX Ex. 64 (SDT RES 000298) (“                              ,



  person at CSX to conclude that the $210 rate for this single train was “             .” Id. 106:16-
  106:24 (describing the various “strategic benefits” of operating this train).
  10
     NPBL’s cites CSX’s MacDonald’s testimony for the proposition that CSX paid the NPBL’s
  tariff only for “loaded wells,” see NPBL SOF ¶ 33; however, neither the cited testimony nor any
  other evidence proffered by NPBL confirms that the rate does not also apply to empty wells. See
  NPBL Ex. 12 at 140:14-141:8. In fact, MacDonald testified that the $210 switch charge applied
  to loaded and empty cars moving to NIT. See CSX Ex. 66 (MacDonald Dep. at 136:17-138:1).
  At a minimum, this is a disputed fact.
                                                     22
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  during 2015 proved unworkable.12 See, e.g., CSX Ex. 66 (MacDonald Dep. 165:20-166:11)

  (describing that the “process of going back and forth to NIT [via NPBL] was melting down” because

  of the inability to get operating windows to move trains, and noting that CSX cars “ended up stuck

  over at NIT for 21 days”); see also CSX Ex. 69 (Kenney Dep. 28:2-24).

          52.     The situation escalated to the point that CSX’s Senior VP of Operations personally

  called NS executives to request an operating window. CSX Ex. 70 (CSXT0154004); CSX Ex. 66

  (MacDonald Dep. 171:21-173:17) (when a CSX train was “captive” at NIT, MacDonald called

  CSX’s Senior VP of Operations, “asking her to make a phone call over to the guys in Atlanta or

  Norfolk to let the train go and quit quoting their proprietary issues”).

          53.     NPBL ultimately moved a small number—about which witness accounts vary—of

  international intermodal trains for CSX over a period of several months in 2015. CSX Ex. 7 (Moss

  Dep. 128:6-129:4; 130:17-131:1) (NPBL moved intermodal traffic for CSX for a “one- or two-

  month period” ending before June 2015); CSX Ex. 13 (Capozzi Dep. 39:18-21) (three trains); CSX

  Ex. 55 (Girardot Dep. 232:6-20) (one train over the course of a month); CSX Ex. 69 (Kenney Dep.

  28:2-24) (one train).13 By contrast, NS moves multiple of its own trains daily at NIT. See CSX




  12
    NPBL cites testimony from MacDonald to suggest that the “operating plan” developed in 2015
  was “workable.” See NPBL SOF ¶ 31. But whether the plan on paper was “workable” is beside
  the point; the record contains substantial testimony from MacDonald and others reflecting that
  implementation of that plan was nothing short of a disaster. See CSX SOF ¶¶ 48, 49, 51, 52.
  13
     NS and NPBL suggest that NPBL moved nine trains for CSX in 2015, based on testimony from
  CSX’s MacDonald. See NS SOF ¶ 64, NPBL SOF ¶¶ 30, 33. But several exhibits shown to
  MacDonald reflect plans to move CSX trains, not confirmed moves. See, e.g., CSX Ex. 74
  (CSXT0004998); CSX Ex. 75 (CSXT0001528); CSX Ex. 76 (CSXT0154066). Moreover, several
  of these moves were non-revenue moves made at VIT’s request. At a minimum, MacDonald’s
  testimony, these exhibits, and other record testimony show that the precise number of trains moved
  in 2015 is in dispute. NPBL also suggests that CSX did not “consult” MacDonald “about the 2015
  rail moves” before filing suit. See NPBL SOF ¶ 32. But MacDonald testified only that he was not
  engaged in the process of filing this litigation, not that he did not discuss these issues with anyone
                                                     24
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  Ex. 39 (NSR_00062857 at -860).

          54.      Due to the onerous restrictions and inexplicable delays imposed by Defendants,

  CSX lost business from customers who could not be adequately and reliably serviced without on-

  dock access at NIT. See CSX Ex. 69 (Kenney Dep. 31:6-21; 104:4-18).

          55.      In June 2015, NPBL’s Moss emailed CSX’s MacDonald to inquire whether CSX

  intended to continue moving intermodal freight to NIT via NPBL, because without revenue from

  these moves, Moss would have to lay off NPBL employees. See CSX Ex. 71 (NPBL005643).

                e. Defendants’ Ongoing Trackage Rights “Dispute”
                   [Disputed: NS SOF ¶¶ 72-74; NPBL SOF ¶¶ 53-54]

          56.      According to NPBL, the 1916 Joint Facility Agreement for NPBL to move over NS’s

  tracks, “                                                                           .” CSX Ex.

  72 (NSR_00027071 at -074); CSX Ex. 5 (Coleman Dep. 143:1-15). Pursuant to this agreement,

  NPBL paid NS a fixed trackage rights fee that did not vary based on the number of cars moved. See

  CSX Ex. 10 (Hunt Dep. 123:23-127:14). NPBL’s Cannon Moss estimated this fee worked out to

  $ per car, in addition to certain fixed costs. See CSX Ex. 7 (Moss Dep. 175:12-178:8).

          57.      In July 2015, while CSX tried to access NIT using NPBL, NS internally worked to

  “

  NPBL and NS. CSX Ex. 73 (NSR_00047112). NS’s Chris Luebbers recommended that “




                                      .” Id.

          58.      NS provided notice to NPBL on July 31, 2015—not long after CSX’s efforts to use


  at CSX. See NPBL Ex. 12 at 220:13-16. Moreover, as the record evidence demonstrates, many
  people at CSX were acutely aware of the obstacles imposed by Defendants during this period.
                                                  25
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  NPBL to access NIT—that it intended to cancel NPBL’s trackage rights over NS leading into NIT,

  unless the parties could negotiate new agreements to preserve NPBL’s access. See CSX Ex. 77

  (NSR_00104581)

         59.      Although NS stated externally that it intended for the parties’ new trackage rights

  agreement to afford NPBL “materially the same access” to NS’s tracks, see NS SOF ¶ 72, internally

  it made clear that its purpose was (1)



  CSX Ex. 78 (NSR_00008141).

         60.      The trackage rights negotiation was part of NS’s broader “strategy” related to CSX’s

  NIT access—specifically NS’s “                                                     .” CSX Ex. 79

  (NSR_00005173).

         61.      NS demanded a variable trackage rights fee of $    per car. See CSX Ex. 10 (Hunt

  Dep. 123:23-127:14). NPBL proposed $        per car. See CSX Ex. 7 (Moss Dep. 175:12-177:18).

               f. CSX’s 2018 Service & Governance Proposals
                  [Disputed: NS SOF ¶¶ 58-62; NPBL SOF ¶¶ 36-42]

         62.      On March 23, 2018, CSX sent NPBL management a Rate Proposal for Long Term

  Rail Service to NIT. See ECF No. 1-5 (“2018 Proposal”). CSX proposed a switch rate of $80 per

  car, loaded or empty, for international intermodal containers moving to or from NIT, with a

  guaranteed minimum of 18,000 cars per year. Id. The 2018 Proposal presented NPBL a consistent,

  long-term, and substantial stream of income, as well as new revenue opportunities. See id.

         63.      NPBL Vice President Donna Coleman did a “back-of-the envelope financial

  evaluation” of the 2018 Proposal, which she discussed with President Cannon Moss. CSX Ex. 5

  (Coleman Dep. 181:13-25); CSX Ex. 80 (NPBL000189 at -93). Her calculations showed net

  revenue for NPBL per trip under the proposal would be $1,500, not including supervisor costs.

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  Id.; see also CSX Ex. 5 (Coleman Dep. 188:9-190:8). She concluded there was enough “validity”

  to send the proposal to a rate committee. CSX Ex. 5 (Coleman Dep. 189:19-22).

         64.     On March 28, 2018, NS called an internal meeting to discuss CSX’s proposal,

  including how it would be impacted by NS’s “                                                .” CSX

  Ex. 81 (NSR_00051329). During this internal meeting, NS recognized that the “




                                                 .” Id. (emphasis added); see also CSX Ex. 82

  (NPBL005881 at -882) (April 2016 email from NS’s Cheryl Jenkins, pressing NPBL’s Cannon

  Moss to execute trackage rights agreement including NS’s proposed trackage rights rate).

         65.     On April 3, 2018, NPBL personnel asked NS operations employees for permission

  to “                                                                                               ”

  CSX Ex. 83 (NSR_00006321). NS reported internally: “

                                                                   .” Id. (emphasis added).

         66.     On April 5, 2018, NPBL’s Moss sent an email to CSX’s Tony DiDeo, outlining a

  few “thoughts” about the 2018 Proposal. CSX Ex. 84 (NPBL006228). Moss noted, among other

  things, that the “major factor in play are the windows NS would provide for NPBL to make our

  run to NIT” (i.e., the request NS denied two days earlier). Id. Moss also noted that the proposal

  would “require” two NPBL locomotives (leased from NS), and that NPBL management “would

  recommend to the board for a rate committee to do a complete review of the tariff.” Id. Moss

  testified that, in addition to these purported concerns, he did not feel he could perform an in-depth

  analysis of CSX’s proposal until he knew what NPBL was “going to be paying [NS] for trackage

  rates.” CSX Ex. 7 (Moss Dep. 244:2-8).


                                                   27
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         67.     On April 6, 2018, CSX sent a letter to NPBL and NS demanding remedial actions

  at the upcoming meetings of the NPBL Board and Shareholders, including affording CSX equal

  representation on the Board; adding qualified, independent directors to the Board; replacing

  members of NPBL management with qualified, independent individuals; and adopting a corporate

  compliance program independent of that adopted by NS. See ECF No. 1-6.

         68.     On April 16, 2018, CSX submitted a list of qualified candidates to serve as

  independent members of the NPBL Board of Directors, who CSX proposed be considered for

  election at the NPBL Shareholders meeting set for April 18. See CSX Ex. 85 (CSXT0101908).

         69.     At the April 18 Shareholders’ meeting, CSX proposed the governance changes

  outlined in its April 6 letter, and recommended interim officers be installed at NPBL until the

  transition was completed. CSX Ex. 86 (CSXT0158238). The proposal failed when NS voted its

  57% majority shares against it. Id.

         70.     One NS-appointed NPBL Board member conceded that several of CSX’s requests

  for corporate governance changes were reasonable, but confirmed the Board ultimately took no

  action in response. CSX Ex. 87 (Merilli Dep. 57-21-58:20); CSX Ex. 88 (Hall Dep. 49:15-50:22).

         71.     At its April 18, 2018 meeting, the NPBL Board did not discuss the 2018 Proposal

  and did not vote to form a rate committee to analyze the tariff or the proposal. CSX Ex. 89

  (Hurlbut Dep. 67:23-68:16); CSX Ex. 87 (Merilli Dep. 75:11-21). The CSX-appointed directors

  requested that the Board appoint an independent committee to review and evaluate the 2018

  Proposal, but the NS-appointed directors refused, based on purported “conflicts” with NPBL’s

  governing documents. CSX Ex. 90 (CSXT0142657 at -659); but see CSX Ex. 5 (Coleman Dep.

  110:6-15) (Coleman testifying that NPBL rate committees were “ad hoc” and “anybody” could be

  appointed); see also CSX Ex. 37 (Armbrust Dep. 246:8-21) (“I understood the rate committee to


                                                28
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  be essentially a farce to reject [CSXT’s] proposal.”); id. at 254:18-255:4 (only a committee of

  “independent experts” would be reasonable, based on his experience as an NPBL director).

       III.         NPBL’s $210 Switch Rate is Preclusive and Exclusionary

                    [Disputed: NSR SOF ¶¶ 8, 45, 47, 52, 67; NPBL SOF ¶¶ 23-24, 43-51]

              72.      The Belt Line’s $210 switching rate is substantially higher than rates charged by

  other terminal switching railroads for similar services.14 See CSX Ex. 53 (Girardot Decl. ¶ 2).

  The most obvious comparison is CWRY, which provides terminal switching services to NS and

  CSX at VIG. See NS SOF ¶ 10; NPBL SOF ¶¶ 11-13. In 2009, CWRY charged CSX                         per

  container for switching services—nearly           times less than NPBL’s $210 per well rate. See NS

  Ex. 71 ¶ 60. Today, NPBL’s rate remains nearly             as high as CWRY’s, even when accounting

  for the ability to “double-stack” containers.15 See id. at ¶ 62. NPBL’s $210 per well rate is also

  significantly higher than the rates charged by terminal switching railroads handling intermodal

  traffic at other East Coast ports, which generally range from $        to $   per container. See CSX

  Ex. 53 (Girardot Decl. ¶¶ 2-4); see also NS Ex. 7 ¶ 54; NS Ex. 71 ¶ 64. NPBL’s and NS’s own

  documents confirm that the $210 rate is high. See CSX Ex. 30 (NSR_00011118 at -119); CSX

  Ex. 68 (Luebbers Dep. 186:9-191:11) (acknowledging the NPBL switch rate was already



  14
     NPBL cites CSX’s John Booth’s testimony that NPBL’s $210 rate was “not unusual.” NPBL
  SOF ¶ 23. As Booth explained, however, “switch charges can vary significantly.” NPBL Ex. 20
  at 141:22. Switch rates can also vary by commodity, and the economics of some commodities are
  that they can support a higher switch rate than intermodal. See CSX SOF ¶ 75.
  15
     “Double-stacking” refers to the ability to load more than one container on a railcar. NS SOF
  ¶ 7. CSX gained “double-stack” capabilities at POV in December 2016. See NS Ex. 5 at 217:5-
  12. NPBL suggests a double-stacked railroad “common[ly]” loads “two or three” containers in a
  single well. See NPBL SOF ¶¶ 50-51. But the record reflects that a variety of factors limit the
  number of containers loaded per well, and that CSX averages                per well under normal
  operating circumstances. See CSX Ex. 11 (2d Girardot Decl.) ¶¶ 3-4; CSX Ex. 12 (Girardot 2d
  Dep. 101:5-17, 109:23-110:8); see also NS Ex. 71 ¶¶ 61-62. Thus, contrary to NS’s suggestion,
  double-stacking does not “double” train capacity. See NS SOF ¶ 8.
                                                      29
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  30-31 (2010 Proposal); CSX SOF ¶¶ 62-63 (2018 Proposal); see also NS Ex. 71 ¶¶ 57-58.

             75.      CSX has paid NPBL’s $210 tariff rate to move “carload” or “dimensional” traffic.

  See NS SOF ¶ 67; NPBL SOF ¶ 24; see also CSX Ex. 7 (Moss Dep. 125:15-126:10). Comparing

  carload or dimensional freight to intermodal container traffic is “apples to oranges,” however,

  because the markets for these commodities are different. CSX Ex. 7 (Moss Dep. 225:23-25); CSX

  Ex. 91 (CSX Corporate Dep. 158:15-160:17). NPBL could offer a reduced rate for intermodal

  traffic without lowering the switch rate applicable to other types of traffic. See CSX Ex. 91.

       IV.         The International Intermodal Transportation Market

                   [Disputed: NS SOF ¶¶ 21-25]

             76.      CSX and NS compete for international intermodal shipping contracts. NS SOF ¶ 5.

  Ocean carriers shipping containers of goods to and from the United States enter into multi-year

  contracts with a single railroad, under which that railroad handles the vast majority of rail

  movements for that carrier across a geographic portfolio (e.g., all containers moving by rail to and

  from East Coast ports). See CSX Ex. 92 (Joyner Dep. 42:1-44:11, 63:10-18); CSX Ex. 93 (Heller

  Dep. 38:13-39:20); CSX Ex. 94 (Warren Decl. ¶ 4); see also NS Ex. 7 ¶¶ 27-30. Each of these

  contracts is worth tens—if not hundreds—of millions of dollars.17 See, e.g., CSX Ex. 95

  (NSR_00128851 at -876).

             77.      Ocean carriers issue Requests for Proposals (“RFPs”) to CSX and NS, identifying

  a volume of international intermodal containers to be moved by rail in particular “lanes” (i.e., port

  to destination pairs). See CSX Ex. 92 (Joyner Dep. 43:9-45:4); CSX Ex. 96 (Strongosky Dep.

  77:9-78:18); CSX Ex. 97 (CSXT0050597) (2016               RFP); see also NS Ex. 7 ¶ 31.


  17
    CSX and NS also compete for domestic intermodal business, which involves transportation of
  cargo between two points within the United States. See NS Ex. 10 ¶ 21. Domestic intermodal
  business is not at issue in this case. See id.
                                                     31
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          83.     Drayage is an expensive and inefficient alternative to on-dock rail, especially at

  high-volume terminals like NIT. See CSX Ex. 53 (Girardot Decl. ¶ 5); CSX Ex. 94 (Warren Decl.

  ¶ 9); CSX Ex. 96 (Strongosky Dep. 37:6-12); CSX Ex. 92 (Joyner Dep. 31:23-33:12, 79:24-80:1)

  (NS “

                ); CSX Ex. 102 (Martinez Dep. 56:13-57:20) (on-dock rail is less expensive and more

  efficient); CSX Ex. 105 (NSR_00122609) (NS describing on-dock at NIT as “



          ”); CSX Ex. 106 (C. Booth Dep. 59:19-65:6) (due to rail’s efficiency, drayage is typically

  used only if on-dock rail is unavailable).19 Drayage adds “

                           ” to container transit times. CSX Ex. 13 (Capozzi Dep. 239:16-240:11).

          84.     Drayage is a particularly problematic at NIT. The drayage route between NIT and

  CSXT’s Portsmouth yard follows Hampton Boulevard, a four-lane local road passing directly in

  front of the Old Dominion University campus. See NS Ex. 7 ¶ 45 & Ex. 7. Local regulations

  prohibit trucks on Hampton Blvd. “between the hours of 4:00 p.m. and 6:00 a.m.” Norfolk

  Municipal Code § 25-262. Street congestion, gate delays, and the limited availability of truckers

  and chassis also limit the efficiency and reliability of drayage. See CSX Ex. 108 (Wagel Dep.

  42:8-21, 46:18-22); CSX Ex. 109 (J. Booth Dep. 81:21-82:12); CSX Ex. 104 (VPA Corporate

  Rep. Dep. 67:4-68:6).

          85.     VIT coordinates drayage at NIT and other POV terminals. See CSX Ex. 13



  19
    In limited circumstances, NS and CSX use drayage at terminals where they have on-dock access.
  See, e.g., CSX Ex. 107 (McClellan Dep. 72:13-22) (describing NS’s use of drayage in
  Jacksonville). NS does not view drayage as inferior in these locations, because the volume of
  containers handled is small. See CSX Ex. 92 (Joyner Dep. 72:13-22); see also CSX Ex. 69
  (Kenney Dep. 69:22-70:9) (describing low volumes and straightforward drayage route in
  Jacksonville); CSX Ex. 11 (Girardot 2d Decl. ¶ 9).
                                                  34
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  (Capozzi Dep. 122:14-15).                                                                   .20 See

  CSX Ex. 13 (Capozzi Dep. 79:16-80:18).




                                                                 . See CSX Ex. 13 (Capozzi Dep.

  241:8-15).

                      . See NS Ex. 71 ¶¶ 34-35.

         86.    Ocean carriers express a strong preference for on-dock rail and “view drayage as a

  significantly inferior option.” CSX Ex. 94 (Warren Decl. ¶ 10) (former CSX executive explaining

  he “

                                                                                      .”); see also

  CSX Ex. 96 (Strongosky Dep. 37:6-12); CSX Ex. 13 (Capozzi Dep. 76:16-78:15); CSX Ex. 110

  (NSR_00157631 at -631) (

                                                       ); CSX Ex. 111 (Heller 2d Dep. 25:20-27:6)

  (

                           ”); CSX Ex. 112 (CSXT0136053) (



                                                                                       ]”).

         87.    NS aggressively protects its reputation as the sole provider of on-dock rail access

  at NIT. See, e.g., CSX Ex. 113 (NSR_00027097) (“

                                                                                                 .”);


  20
     NPBL’s suggestion that its rate is “                                          ,” see
  NPBL SOF ¶ 52, ignores the many non-monetary obstacles imposed by Defendants on CSX’s
  attempts to use NPBL to access NIT, see CSX SOF ¶¶ 43-44, 46-49, 51-54.
                                                  35
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  CSX Ex. 114 (NSR_00027098) (“

                                                        .”).

         88.      CSX’s lack of on-dock rail access at NIT has driven multiple ocean carriers to

  contract with NS rather than CSX, including in each of 2015, 2016, 2017, and 2019. See CSX Ex.

  69 (Kenney Dep. 20:8-21:4, 31:6-11) (                ); CSX Ex. 94 (Warren Decl. ¶ 11) (

  &         ); CSX Ex. 99 (Warren Dep. 162:22-163:12) (                             ); CSX Ex. 115

  (CSXT0096961 at -963) (          ); CSX Ex. 53 (Girardot Decl. ¶ 8) (         &      ); CSX Ex. 55

  (Girardot Dep. 233:24-234:18; 271:13-272:12); CSX Ex. 116 (CSXT0013901) (account notes

  indicating, with respect to       proposal,

                                    ”). Ultimately, CSX’s lack of on-dock access at NIT has reduced

  its market share across the entire East Coast. See CSX Ex. 117 (Eliasson Dep. 40:12-41:10).

               b. Other Terminals are Not Adequate Substitutes for On-Dock Rail at NIT
                  [Disputed: NS SOF ¶¶ 9-12, 19, 20, 26-32, 69; NPBL SOF ¶ 9]

         89.      NIT is the largest and most important marine terminal at the Port of Virginia. See

  NS Ex. 10 ¶ 32. It has six berths, the largest number of any POV terminal. It is accessible by a 50-

  foot navigation channel and can accommodate the largest modern Post-Panamax class vessels. See

  CSX Ex. 13 (Capozzi Dep. 95:18-24).

         90.      A second terminal, VIG, is located across the Elizabeth River from NIT. Although

  a recent expansion increased VIG’s annual throughput capacity to approximately 1.2 million

  containers (see NSR SOF ¶ 10), a level similar to NIT’s, VIG remains more constrained because it

  has only three berths—half the number at NIT. See NS Ex. 71 ¶¶ 83-84; CSX Ex. 13 (Capozzi Dep.

  95:25-96:12). Both CSX and NS access on-dock rail at VIG via CWRY. See CSX SOF ¶ 72.

         91.      A third terminal, Portsmouth Marine Terminal (“PMT”), is smaller and cannot

  accommodate the largest modern container ships. See NS Ex. 71 ¶ 88. PMT was closed from 2010

                                                  36
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  to 2013, but reopened in 2014 to handle “overflow” traffic while expansion efforts were underway

  at VIG and NIT. See CSX Ex. 13 (Capozzi Dep. 172:23-173:19) (PMT was a “                ”); CSX

  Ex. 55 (Girardot Dep. 159:24) (PMT was an “emergency workaround Band-Aid”). PMT was

  closed again in 2018, and VIT has no plans to re-open it for container cargo. See CSX Ex. 13

  (Capozzi Dep. 172:23-173:19). When operational, PMT could handle only between               and

           containers annually—a tiny fraction of VIG or NIT. See NS Ex. 10 ¶ 116; NS Ex. 71

  ¶¶ 85-90. NS and CSX both had access to on-dock rail at PMT. See NS SOF ¶¶ 11-12.

         92.      VIT determines at which terminal a vessel will call. See NS SOF ¶ 19; CSX Ex. 13

  (Capozzi Dep. 91:14-93:7; 94:12-104:19). In making this decision, the most important factor

  considered is               , followed by                                                      .

  See id. at 91:25-93:7. After those factors, VIT considers

                                              . See id. at 99:23-100:11.

                                                                                         . See id.

  at 193:10-17; see also CSX Ex. 94 (Warren Decl. ¶ 5) (

                                                              ); NS Ex. 71 ¶¶ 70-72. VIT retains

  discretion to

                                                        See CSX Ex. 13 (Capozzi Dep. 101:12-13;

  243:15-24); CSX Ex. 69 (Kenney Dep. 29:2-8).

         93.      Although VIT has expressed a desire to steer CSX-aligned containers to VIG, the

  empirical data show that ocean carrier volumes do not shift from NIT to VIG following a change

  in alignment from NS to CSX. See NS Ex. 71 ¶¶ 77-79 & Ex. 5; see also CSX Ex. 13 (Capozzi

  Dep. 182:15-185:23; 243:15-24) (VIT’s Capozzi explaining it is “




                                                  37
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                                  , see CSX SOF ¶¶ 78, 92).

         94.       NS suggests that no international intermodal traffic or customer “must” move

  through NIT, see NS SOF ¶ 69; however, the volume of containers moved through NIT each year

  could not realistically be shifted to other POV terminals, or to marine terminals at other ports, like

  the Port of NY/NJ. See NS Ex. 71 ¶¶ 50-54, 70-76, 80-81.

               c. Trucks Do Not Compete with Rail for International Intermodal Freight
                  [Disputed: NS SOF ¶¶ 36-41]

         95.       NS states that 60-65% of international intermodal containers at POV were moved by

  truck between 2012 and 2019. See NS SOF ¶ 36. This statistic does not distinguish between

  containers destined for local markets, which necessarily move by truck, and those traveling longer

  distances, which move by rail. See CSX Ex. 69 (Kenney Dep. 44:9-45:14). VIT’s Tom Capozzi

  confirmed that

                                                                           . See CSX Ex. 13 (Capozzi

  Dep. 164:25-166:2). This is a “                                                                 .” Id.

         96.       Trucking is a “very minor consideration” in competition for international intermodal

  cargo traveling more than 200 to 500 miles. See CSX Ex. 98 (Piacente Dep. 64:2-16, 86:7-87:8)

  (200 miles); CSX Ex. 99 (Warren Dep. 72:10-73:23) (150 to 200 miles); CSX Ex. 104 (VPA

  Corporate Rep. Dep. 48:7-50:5) (100 to 140 miles); CSX Ex. 55 (Girardot Dep. 60:16-61:15) (150

  to 400 miles); CSX Ex. 96 (Strongosky Dep. 112:16-24) (500 miles); CSX Ex. 107 (McClellan Dep.

  71:24-72:1) (500 miles); CSX Ex. 92 (Joyner Dep. 19:7-20:9) (500 miles).

         97.       Although NS suggests that “at least some” international intermodal rail rates are set

  “to remain competitive with trucks,” NS SOF ¶ 40, the documents cited involve moves of less than

  500 miles. See NS Ex. 40 (discussing rate from New York to Pittsburgh, less than 400 miles); NS

                                                    38
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  Ex. 72 (discussing rate from Jacksonville to Eden, N.C., less than 500 miles); NS Ex. 77 (discussing

  rate from Port of New York/New Jersey to Syracuse, less than 250 miles). The Midwest destinations

  competitively served by NS and CSX are farther than 500 miles from POV. See NS Ex. 10 Tbl. 1.

            98.      Contrary to NS’s suggestion (NS SOF ¶ 41), CSX’s Highway to Rail (“H2R”)

  program primarily targeted converting domestic intermodal container volumes from truck to rail.

  See CSX Ex. 69 (Kenney Dep. 65:6-12); see also NS Ex. 71 ¶¶ 40-41 (explaining differences

  between international and domestic intermodal competition).

       V.         Harm to Competition and Damage to CSX

                  [Disputed: NS SOF ¶¶ 33-35, 70-71]

            99.      CSX vigorously competes for international intermodal business at all major ports

  on the East Coast, including the Port of Virginia. See NS SOF ¶ 5. Although CSX’s container

  volumes at POV have increased since 2009, see NS SOF ¶¶ 70-71, this expansion is almost entirely

  concentrated at VIG, where CSX has access to on-dock rail, see NS Ex. 71 ¶¶ 109-118.21

            100.     As John Reinhart, the CEO and Executive Director of the Virginia Port Authority

  (“VPA”), emphasized in a letter to NPBL President Cannon Moss, “



                     . See CSX Ex. 118 (CSXT0100756). Reinhart “



                                           ]” Id.; see also CSX Ex. 54 at 21-26.

            101.     As CSX’s expert, Dr. Howard P. Marvel, Dr. Howard P. Marvel—an economics




  21
     NS points to completion of CSX’s National Gateway Project in 2016, and certain purported
  service disruptions in 2019, to suggest CSX has a “competitive disadvantage” at POV. See NS
  SOF ¶¶ 33-35. The evidence makes clear, however, that CSX has competed vigorously at POV
  since at least 2009, and that it has had success, primarily at VIG. See NS Ex. 71 ¶¶ 109-119.
                                                    39
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  professor with more than forty years’ experience—has confirmed, the empirical data show that NS’s

  and NPBL’s conduct harms ocean carriers. Because CSX cannot effectively act as a competitive

  constraint on NS at NIT, NS charges higher prices to carriers who use NIT intensively. See NS Ex.

  7 ¶¶ 69-81.

                                                                                 . See id. ¶ 81. And

  because ocean carriers contract with NS for multiple lanes across a large geographic portfolio, the

  reverberations of this overcharge extend throughout the network. See id.

          102.   Because ocean carrier RFPs cover multiple ports, CSX has lost substantial business

  across its entire network because of its lack of on-dock access at NIT. See CSX SOF ¶¶ 77-81, 86,

  88. Dr. Marvel estimates that CSX’s lost profits totaled more than $       million between 2009 and

  2020:




  See NS Ex. 71 ¶¶ 120-126 & Exs. 14 & 15; see also NS Ex. 7 ¶¶ 85-100.




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                                     STANDARD OF REVIEW

          The Court can grant summary judgment to Defendants only if “there is no genuine dispute

  as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

  56(a). “Because credibility determinations, the weighing of the evidence, and the drawing of

  legitimate inferences from the facts are jury functions, not those of a judge,’” the Court may

  evaluate the evidence only as needed to determine whether there is “sufficient disagreement to

  require submission to a jury.” McAirlaids, Inc. v. Kimberly-Clark Corp., 756 F.3d 307, 310 (4th

  Cir. 2014). The Court should view all facts and permissible inferences from them in the light most

  favorable to CSX. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88

  (1986). If a reasonable jury could return a verdict for CSX, “then a genuine factual dispute exists

  and summary judgment is improper.” Wright v. Va. Peninsula Regional Jail Auth., No. 2:19cv189,

  2021 WL 963496 at *2 (E.D. Va. March 15, 2021) (Davis, C.J.).

                                            ARGUMENT

     I.      CSX’s Claims are Timely.

          Though Defendants do not acknowledge it, they bear the burden of proof on the affirmative

  defenses of the statute of limitations. See Graham v. Island Creek Coal Co., 184 F. Supp. 2d 511,

  515 (W.D. Va. 2002) (noting that defendants “bear the burden of proof on the issue of whether the

  plaintiff’s claims are barred by the statute of limitations,” and denying summary judgment where

  the record contained disputed evidence as to the date on which plaintiff’s injury occurred). The

  record does not support summary judgment on limitations grounds. As explained below, CSX

  alleges ongoing antitrust violations, which are timely so long as they continue into the limitations

  period, which CSX has shown. Accordingly these claims—including all evidence of Defendants’

  ongoing anticompetitive conduct—must be submitted to a jury. The same is true for CSX’s state

  law claims, as detailed below.
                                                  41
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             a. CSX’s Sherman Act Claims are Timely (Counts I-IV).

         Defendants’ primary argument against CSX’s antitrust claims is that they are barred by the

  applicable four-year statute of limitations. See NS Br. at 16-20; NPBL Br. at 15-21 (both citing

  15 U.S.C. § 15b). Defendants contend that, because CSX did not sue within four years of their

  very first anticompetitive act, their ongoing monopoly and conspiracy are now unreachable, and

  they are free to block CSX’s access to NIT, stifle competition, and overcharge ocean carriers in

  perpetuity with impunity.

         Defendants’ arguments misstate the law. Under the “continuing violation” doctrine—

  which NS only briefly acknowledges and NPBL ignores—“[t]he period of limitations for antitrust

  litigation runs from the most recent injury caused by the defendants’ activities rather than from the

  violation’s inception.” Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899, 902 (7th Cir.

  2004). And, contrary to NS’s suggestion, this principle applies equally to CSX’s antitrust

  conspiracy and monopolization claims. See id. (explaining, in applying continuing violation

  doctrine to monopolization claim, that “improperly prolonging a monopoly is as much an offense

  against the Sherman Act as is wrongfully acquiring market power in the first place”). As the

  Fourth Circuit reaffirmed just one day after Defendants filed their motions, “‘in the context of a

  continuing conspiracy to violate the antitrust laws,’ the statute of limitations begins to run from

  ‘each time a plaintiff is injured by an act of the defendants.’” Mayor of Baltimore v. Actelion

  Pharms. Ltd., __ F.3d __, 2021 WL 1376980, at *6 (4th Cir. Apr. 13, 2021) (citing Zenith Radio

  Corp. v. Hazeltine Res., Inc., 401 U.S. 321, 338 (1971)); see also United States v. Dentsply Int'l,

  Inc., No. Civ. A. 99-005, 2001 WL 624807, at *17 & n.18 (D. Del. Mar. 30, 2001), aff'd sub

  nom. Howard Hess Dental Labs. Inc. v. Dentsply Int'l, Inc., 424 F.3d 363 (3d Cir. 2005) (in

  Sherman Act monopoly case, denying motion for summary judgment based on the statute of


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  limitations after concluding that a jury could find certain conduct sufficient to restart the statute of

  limitations under the continuing violation doctrine).

         This is true even if “the acts occurr[ing] within the limitations period were reaffirmations

  of decisions originally made outside the limitations period,” W. Penn Allegheny Health Sys., Inc.

  v. UPMC, 627 F.3d 85, 107 (3d Cir. 2010), and even if the conduct at issue is “intentional,

  concerted inaction” rather than affirmative acts, In re Lower Lake Erie Iron Ore Antitrust Litig.,

  998 F.2d 1144, 1172 (3d Cir. 1993) (emphasis added). For example, in Hanover Shoe, Inc. v.

  United Shoe Machinery Corp., the Supreme Court held that the plaintiff’s claims were timely, even

  though the defendant’s allegedly monopolistic leasing policy had been first adopted more than

  forty years before plaintiff sued. See 392 U.S. 481, 502 n.15 (1968). The Court explained: “We

  are not dealing with a violation which, if it occurs at all, must occur within some specific and

  limited time span. Rather, we are dealing with conduct which constituted a continuing violation

  of the Sherman Act and which inflicted continuing and accumulating harm.” Id.

         So too here. Although evidence produced in discovery shows that Defendants have

  engaged in anticompetitive and conspiratorial conduct for years, see, e.g., CSX SOF ¶¶ 10, 17, the

  record contains ample evidence of overt acts and “intentional, concerted inaction” causing new

  injuries within the limitations period, see, e.g., id. ¶¶ 45-54 (operational challenges and CSX’s

  payment of $210 rate in 2015), ¶¶ 56-61 (trackage rights); ¶¶ 62-71 (2018 proposal); see also id.

  ¶ 102 (injury to CSX).22 Each of these acts is enough to “start[ ] the statutory period running

  again” on CSX’s antitrust claims. Actelion Pharms., 2021 WL 1376980, at *6.



  22
    Defendants take a stinted view of the evidence, suggesting that CSX has pointed to only six
  examples of wrongful conduct since 2009. See NS Br. at 16; NPBL Br. at 15 (citing CSX’s 2d
  Supp. Resp. to NPBL’s Interrog. No. 4). To be clear, the interrogatory cited by Defendants asked
  CSX to identify “the specific overt act(s) by NPBL that you contend form the basis for the
  conspiracy alleged in Counts I, II, VIII, and IX of your Complaint.” See NS Ex. 118 at 2 (emphasis
                                                    43
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          None of the authority Defendants cite is to the contrary. First, Klehr v. A.O. Smith Corp.,

  actually refutes their arguments. There, the Supreme Court analyzed a RICO claim by analogizing

  to the Sherman Act, explaining that “in the case of a continuing violation . . . , each overt act that

  is part of the violation and that injures the plaintiff . . . starts the statutory period running again,

  regardless of the plaintiff’s knowledge of the alleged illegality at much earlier times.” 521 U.S.

  179, 189 (1997).23 In other words, when a continuing violation includes conduct within the

  limitations period that causes injury, the plaintiff may bring claims based on that conduct,

  regardless of when the conduct began. See W. Penn Allegheny Health, 627 F.3d 85 at 107 (holding,

  after Klehr, that “Hanover Shoe and Lower Lake Erie leave no room for [Defendants’] proposed

  rule. . . . [P]laintiff's suit was timely even though the acts that occurred within the limitations period

  were reaffirmations of decisions originally made outside the limitations period.”).

          The other cases cited by NS are inapposite. Both Kaw Valley Electric Cooperative Co. v.

  Kansas Electric Power Cooperative, Inc., 872 F.2d 931, 933-35 (10th Cir. 1989), and Lancianese

  v. Bank of Mount Hope, 783 F.2d 467, 470 (4th Cir. 1986), held that the continuing violation

  doctrine did not apply because the plaintiff pointed to damages, but not conduct, within the

  limitations period. And in Al George, Inc. v. Envirotech Corp., 939 F.2d 1271, 1275 (5th Cir.




  added). It did not ask CSX to identify all wrongful conduct within the limitations period; nor did
  it ask for examples of action (or purposeful inaction) by NS. See id. at 2-3 (CSX’s response,
  clarifying that it is “in no way intended as an exhaustive list of overt acts committed by NS in
  furtherance of the conspiracy”). CSX’s response is thus not a catalogue of all evidence supporting
  its claims.
  23
     In arguing that CSX’s antitrust claims are time-barred, NPBL suggests CSX “was aware of its
  alleged injuries” in 2009. See NPBL Br. at 16-17. The evidence cited by NPBL does not support
  this conclusion, particularly in light of Defendants’ repeated obfuscations during this period. See
  CSX SOF ¶¶ 18-41. Regardless, CSX’s knowledge is immaterial, since each act in furtherance of
  Defendants’ continuing violations restarts the limitations period on its claims, no matter what CSX
  knew or when. See Klehr, 521 U.S. at 189.
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  1991), the court determined that the last overt act occurred outside the limitations period. Here,

  as discussed above, CSX has identified both conduct and damages within the limitations period.

          NS contends that Defendants’ post-2014 conduct does not constitute “new and independent

  act[s]” that are “distinct from the ‘abatable but unabated inertial consequences’ of NPBL’s 2009

  decision to set the switch rate at $210.” NS Br. at 20. As the Fourth Circuit recently reiterated,

  however, in cases involving anticompetitive pricing, each sale constitutes a new injury restarting

  the limitations period. See Actelion Pharms., 2021 WL 1376980, at *6. So even if the $210 switch

  rate were the only conduct at issue—which it is not, as the Court has already recognized, see ECF

  No. 66 at 38-39—CSX’s payment of that anticompetitive rate in 2015 would suffice to restart the

  statute of limitations on its claims. But those payments are just one piece of CSX’s case—the

  record also contains plentiful evidence of Defendants’ obstruction of CSX’s efforts to access NIT

  via NPBL in 2015, NS’s cancellation of NPBL’s trackage rights and subsequent attempts to

  negotiate a prohibitively high rate between 2015 and 2018, and Defendants’ rejection of CSX’s

  2018 service and governance proposals. All of these events constitute “new and independent”

  acts, distinct from the setting of the switch rate, that caused harm and thus restarted the statute of

  limitations.24

          NS claims “Defendants took no overt action on the 2018 Rate Proposal.” NS Br. at 19

  (emphasis in original). But “overt action” for antitrust or conspiracy purposes need not be a formal

  Board vote denying CSX’s request. Rather, impeding, delaying and effectively denying through

  inaction are all sufficient to restart the limitation period, whether those acts are characterized as



  24
    For this reason, NS’s citation to XY, LLC v. Trans-Ova Genetics is inapposite. In that case, the
  Federal Circuit affirmed summary judgment on limitations grounds because the plaintiff failed to
  identify any “new and accumulating” injury within the limitations period resulting from the alleged
  conspiracy. See 890 F.3d 1282, 1292 (Fed. Cir. 2018).
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  actions to impede or purposeful inaction. See Lower Lake Erie, 998 F.2d at 1172 (explaining that

  “continuing and accumulating damage may result from intentional, concerted inaction. The

  purposeful nature of the inaction . . . obviously constitutes an injurious act, although perhaps not

  an overt one in the commonly-understood sense”). It is undisputed that, pursuant to its charter,

  NPBL exists to connect its owner railroads to destinations on its network, including NIT. Barring

  Defendants’ anticompetitive conduct, NPBL would have acted to facilitate CSX’s access to NIT,

  as it has facilitated CSX’s and NS’s access to other points. By refusing to take action on CSX’s

  proposals—which would have furthered NPBL’s stated purpose and benefitted NPBL

  financially—Defendants actively blocked CSX’s access to NIT, thus engaging in the very

  anticompetitive activity reflected in the record.

         Most critically, NS’s arguments underscore the many material disputes of fact at issue.

  Compare NS Br. at 19 (arguing CSX “successfully used NPBL to access NIT in 2015”) with CSX

  SOF ¶¶ 46-49, 51-53 (describing substantial, unreasonable barriers imposed on CSX’s access in

  2015); NS Br. at 19 (arguing “Defendants took no overt action” on 2018 Proposal) with CSX SOF

  ¶¶ 64-71 (describing actions by NS and NPBL directors and management to prevent fair

  consideration of the 2018 Proposal); NS Br. at 19-20 (arguing that NS “had the contractual right”

  to reject CSX’s Governance Proposal) with CSX SOF ¶ 2 & infra at 69-70 (disputing NS’s

  interpretation of the relevant agreements). These factual disputes preclude summary judgment.25




  25
     To the extent that Defendants suggest that evidence of pre-2014 conduct is not admissible to
  support CSX’s claims, that argument fails. The trier of fact may consider all evidence of
  Defendants’ continuing violations. See, e.g., Dial Corp. v. News Corp., 165 F. Supp. 3d 25, 37-
  38 (S.D.N.Y. 2016) (“[A] monopoly which is ‘maintained’ during the damages period would need
  to be created before the damages period, and anticompetitive conduct before the limitations period
  may be material to a showing that Plaintiffs were injured during the damages period.”).
                                                      46
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              b. CSX’s State-Law Claims are Timely (Counts V, VIII, IX).

          Defendants also contend that CSX’s state law claims are time-barred, see NS Br. at 17-18;

  NPBL Br. at 17-18, but these arguments likewise miss the mark. The statute of limitations on

  CSX’s state law claims is five years.26 See ECF No. 66 at 36; NS Br. at 17; NPBL Br. at 17. The

  limitations period begins to run when a cause of action accrues. See Forest Lakes Community

  Ass’n, Inc. v. United Land Corp. of Am., 795 S.E.2d 875, 881 (Va. 2017). Although a cause of

  action for property damage accrues when the damage is first incurred, “[i]t is possible for a new

  cause of action to accrue that looks remarkably like an earlier one but is nonetheless a stand-alone

  claim in its own right.” Id. In such cases, “the damage accompanying the new cause of action sets

  new accrual starting blocks for a separate limitation period.” Id.

          Whether there is a single conspiracy or multiple conspiracies is a factual question. Indeed,

  because analysis of the “accrual starting blocks” in each case “depends so heavily on the factual

  context,” it “def[ies] any attempts at formulaic applications.” Id. at 881-82. Put differently,

  “[w]hether the evidence establishes a single conspiracy or multiple conspiracies is an issue for the

  jury.” United States v. Lozano, 839 F.2d 1020, 1023 (4th Cir. 1988); accord In re Zetia (Ezetimibe)

  Antitrust Litig., No. 2:18md2836, 2019 WL 6977405, at *4 (E.D. Va. Dec. 20, 2019); Williams v.

  Commonwealth, 407 S.E.2d 319, 322 (Va. Ct. App. 1991).

          The record certainly contains facts from which a reasonable jury could find that Defendants

  engaged in a single, ongoing conspiracy throughout the relevant time period. See, e.g., supra at

  42-46. But there are also facts in the record from which a jury could conclude that Defendants’


  26
     NS suggests that CSX’s common law conspiracy claim is subject to a two-year statute of
  limitations, based on its misguided assumption that the only “wrongful act” underlying that claim
  is breach of fiduciary duty. See NS Br. at 17 & n.4. As explained below, however, CSX’s state
  law conspiracy claims rely on multiple wrongful and unlawful acts, including Defendants’
  violations of federal antitrust law, in addition to individual directors’ violations of fiduciary duties.
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  entered into a new conspiracy within the limitations period, as this Court outlined in denying

  Defendants’ motions to dismiss:

         [I]n 2018, Defendants entered into a new agreement to increase the amount Belt
         Line pays to NS to access NS’s tracks to NIT. . . . Any increase in the price that
         [NS] charges Belt Line would, in turn, be passed on to Belt Line’s customers. That
         is, it would lead to an increase in the Uniform Rate. The Court concludes that
         Plaintiff has alleged a new conspiracy within the statute of limitations period; this
         second attempt to raise the Uniform Rate is not a continuation of the same
         conspiracy to set the Uniform Rate at the [2009] level because the price is again
         increased.

  ECF No. 66 at 39-40 (emphasis added). CSX is entitled to proceed on alternate theories of liability

  at trial when both are supported by the record. See, e.g., Davis v. Richmond, Fredericksburg and

  Potomac R. Co., 803 F.2d 1322, 1327 (4th Cir. 1986) (affirming district court’s decision to allow

  plaintiffs to proceed on two alternate theories of Title VII liability at trial). Whether there was one

  or more conspiracies is a factual matter for the jury to find.

         In an attempt to discount this evidence, NPBL cites CSX’s admission that “NPBL and NS

  did not enter a new agreement in 2018 to increase the amount NPBL pays NS to access NS’s tracks

  to NIT.” See NPBL Br. at 21-22; see also NPBL Ex. 28. But the fact that NS and NPBL have not

  executed a new trackage rights agreement is beside the point. To the contrary, as CSX alleged—

  and as the evidence now shows—Defendants have used their purported “dispute” over trackage

  rights as pretext to justify NPBL’s artificially high rate and to reject CSX’s proposal seeking a

  commercially reasonable rate. See CSX SOF ¶¶ 56-61. It was not necessary for Defendants to

  actually agree on a higher rate for their scheme to work, as they were able to delay and deny CSX’s

  proposal based on the purported uncertainty surrounding this issue alone. And these actions—

  among others—constitute breaches of the NPBL Operating Agreement by NS occurring within the

  applicable limitations period. See infra at 69-70.



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         Because all of this evidence falls within the applicable limitations period, CSX’s state law

  claims are timely. At a minimum, the Court cannot resolve these factual issues on summary

  judgment. Lozano, 839 F.2d at 1023.

             c. CSX’s Damages Calculation Methodology Does Not Govern Accrual.

         In trying to show that CSX’s claims are time-barred, Defendants point to CSX’s damages

  calculation methodology, which they criticize, based on a total of two federal decisions, as not

  “apportion[ing] damages between any separate unlawful acts.” NPBL Br. at 18-19; see also NS

  Br. at 18-19. To be sure, CSX’s expert, Dr. Howard Marvel, calculated profits CSX lost due to

  “the totality of NS’s and NPBL’s efforts to foreclose CSX” from on-dock rail at NIT. See CSX

  SOF ¶ 102. Most of these occurred in years after 2013—within the limitations periods. See id.

         Defendants’ argument that CSX must tie its damages calculation to specific overt acts

  “obfuscates the difference between, on the one hand, an ‘overt act’ necessary to show the existence

  of a conspiracy, and, on the other hand, an ‘injurious act’ causing damages within the limitations

  period.” Lower Lake Erie, 998 F.2d at 1172. Although a plaintiff must identify at least one timely

  overt act causing injury in order to satisfy the statute of limitations, Zenith Radio Corp., 401 U.S.

  at 338, its damages calculations need not be tied to that act, because “overt acts aren’t what cause

  damage. It is the effectiveness of the overall conspiracy that causes damages.” Lower Lake Erie,

  998 F.2d at 1172 (emphasis added).

         Particularly in monopoly cases like this one, “the relevant inquiry is the anticompetitive

  effect of [Defendants’] exclusionary practices considered together.” LePage’s v. 3M, 324 F.3d

  141, 162 (3d Cir. 2003); see also City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th

  Cir. 1992) (“[I]t would not be proper to focus on specific individual acts of an accused monopolist

  while refusing to consider their overall combined effect.”). Thus, once the jury finds that


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  Defendants’ unlawful conduct injured CSX, “damages may be determined without strict proof of

  what act caused the injury, as long as the damages are not based on speculation or guesswork.”

  3M, 324 F.3d at 166; see also Dial Corp, 165 F. Supp. 3d at 38 (in monopoly case, rejecting

  summary judgment argument that plaintiff’s damages model did not “sort out the effects of any

  particular form of anticompetitive conduct,” explaining that “calculating damages in antitrust cases

  is not an exact science,” and that “if a jury were to find [defendant’s] actions taken as a whole to

  be a violation of Section Two of the Sherman Act, disaggregating the monopolist’s lawful actions

  from its unlawful actions for the purpose of calculating damages may be unnecessary, if not

  impossible”); Poster Exch’g, Inc. v. Nat’l Screen Serv. Corp., 517 F.2d 117, 125 (5th Cir. 1975)

  (approving “day by day calculation of accruing injury” in monopoly and conspiracy case “based

  on continuing antitrust behavior, not merely the continuing damage [plaintiff] feels from a single

  day’s monopoly and refusal to deal”).

         The same is true of CSX’s state law conspiracy claims. The Fourth Circuit has recognized

  that, under Virginia law, damages result from the totality of a conspiracy, not any particular overt

  act. See Blackwelder v. Millman, 522 F.2d 766, 776 (4th Cir. 1975) (reversing summary judgment

  where damages resulting from conspiracy continued into limitations period); see also Com. Bus.

  Sys., Inc. v. Bellsouth Servs., Inc., 453 S.E.2d 261, 267 (Va. 1995) (“Whether a conspiracy caused

  the alleged damage ordinarily is a question for a jury.”). None of the cases cited by NPBL suggest

  otherwise. See NPBL Br. at 19-20 (citing Gallop v. Sharp, 19 S.E.2d 84, 86 (Va. 1942) (providing

  only that “the damage produced must arise as the effective result of the conspiracy”)).27




  27
    The other Virginia cases cited by NPBL do not involve conspiracy claims. See Street v.
  Consumers Mining Corp., 39 S.E.2d 271 (Va. 1946) (trespass); Louisville & N.R. Co. v. Saltzer,
  144 S.E. 456 (Va. 1928) (negligence).
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           NPBL contends that this Court’s decision denying Defendants’ motions to dismiss

  provided a “roadmap” for CSX’s calculation of damages. See NPBL Br. at 20-21 (citing ECF No.

  66 at 38-39). But this Court explained that CSX’s damages would arise from profits lost as a result

  of Defendants’ ongoing anticompetitive and conspiratorial conduct. See ECF No. 66 at 38. It did

  not suggest, at the motion to dismiss phase of the case, that CSX must apportion those lost profits

  by contract or tie them to any singular overt act. See id. NPBL’s argument to the contrary

  misunderstands the facts of the case. CSX’s lost profits are not limited to the marginal difference

  between the switch rate proposed by CSX and the rate charged by NPBL; they are the profits lost

  as a result of ocean carriers choosing not to contract with CSX due to its inability to access on-

  dock rail at NIT, as a result of the totality of Defendants’ anticompetitive and conspiratorial

  conduct. Indeed, that is the consequence of the Defendants’ conspiracy: CSX cannot effectively

  access NIT via NPBL and has lost business and profits due to that constraint. The record contains

  evidence of this lost business, see id. ¶ 88, and CSX’s expert, Dr. Marvel, has calculated CSX’s

  lost profits by year, see id. at ¶ 102. Neither Defendant challenges Dr. Marvel’s damages

  calculation methodology.

           The record contains ample evidence of overt acts by Defendants during the limitations

  period. The quantum or method for calculating damages arising from the totality of Defendants’

  conduct does not affect the timeliness of CSX’s claims.

     II.      There is Ample Evidence Supporting CSX’s Conspiracy Claims (Counts I, II,
              VII, IX).

           CSXT has asserted four conspiracy claims against Defendants. See ECF No. 1 ¶¶ 77-84

  (conspiracy to restrain trade in violation of Sherman Act § 1); id. ¶¶ 85-90 (conspiracy to

  monopolize in violation of Sherman Act § 2); id. id. ¶¶ 101-121 (statutory business conspiracy

  under Va. Code § 18.2-499, -500); id. ¶¶ 122-125 (Virginia common law conspiracy). Although

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                 1.      NS’s directors are agents of NPBL when acting in that capacity.

         Defendants are simply wrong to suggest that individual NPBL directors employed by NS

  cannot be deemed agents of NPBL when acting in that capacity. “Directors are agents of a

  corporation who must act within the scope of their authority.” 18B Am. Jur. 2d Corporations

  § 1264; see also Starring v. Kemp, 188 S.E. 174, 177 (Va. 1936) (explaining that directors are

  agents of their corporation when conducting its business). Moreover, as the Supreme Court of

  Virginia has recognized, a person can act as an agent for one entity for one purpose while acting

  as an agent for another entity for a different purpose, depending on the facts of a particular case.29

  See Cook v. John Hancock Life Ins. Co. (U.S.A.), No. 7:12–cv–00455, 2015 WL 178108, at *7

  (W.D. Va. Jan. 14, 2015) (citing Md. Cas. Co. v. Craig, 194 S.E.2d 729 (Va. 1973) (analyzing an

  agent “acting in a dual capacity”)); see also Haines v. Local 149, UAW, No. 99-122, 2000 WL

  1100034, at *1 (Va. Cir. Ct. July 27, 2000) (“[A] person may be an agent of two persons” or

  entities). The “creation, duration, and scope of an agency relationship” is a question of fact for the

  jury. Famous Knitwear Corp. v. Drug Fair, Inc., 493 F.2d 251, 253 (4th Cir. 1974); Acordia of

  Va., 560 S.E.2d at 250.

         Neither case cited by Defendants suggests otherwise. Indeed, neither involves a conspiracy

  claim. In Mosell Realty Corp. v. Schofield, the Supreme Court of Virginia held that a would-be

  buyer could not enforce a real estate contract authorized by two directors but “repudiated” by the

  third. 33 S.E.2d 774, 778-79 (Va. 1945). The Court reasoned that, under the facts presented, the

  directors did not have “inherent or implied authority” to undertake “extraordinary and unusual




  29
     For this reason, Defendants cannot rely on conduct by CSX-appointed NPBL directors to support
  its desired blanket “no agency” rule. See NS Br. at 34; NPBL Br. at 27. Whether an individual
  acts as an agent of an entity in any given situation depends on the specific facts at issue. See
  Acordia of Va. Ins. Agency, Inc. v. Genito Glenn, L.P., 560 S.E.2d 246, 250 (Va. 2002).
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  transactions such as the sale and purchase of real estate.” Id. at 777. Here, neither NS nor NPBL

  argue that NS-appointed Board members lack authority to vote on CSX’s various proposals;

  indeed, their argument is that only the Board could approve such things. Similarly, in Monocan

  Hills, Inc. v. Page, the Supreme Court of Virginia considered only whether, in a case seeking to

  compel transfer of stock, statements of individual directors were admissible as statements of the

  corporation. See 122 S.E.2d 654 (Va. 1961). Neither Mosell Realty nor Monocan Hills holds that

  actions by individual directors cannot be attributed to a corporation as a matter of law.

         The Supreme Court’s decision in Am. Society of Mechanical Engineers, Inc. v. Hydrolevel

  Corp. is instructive. See 456 U.S. 556 (1982). In that case, an employee of a product manufacturer

  used his position on a subcommittee at a trade association, the American Society of Mechanical

  Engineers (ASME), to conspire with his own company against a competitor. Id. at 560-61. The

  Supreme Court affirmed a finding of conspiracy under the Sherman Act against ASME. Id. at 558-

  59. The Court held that facts were sufficient to confer conspiracy liability on ASME—particularly

  in the antitrust context—even though ASME’s only conspiratorial conduct came from a single

  subcommittee member conspiring with his employer. Id. at 572. Like ASME, NPBL can be held

  liable for the conspiratorial conduct of its individual directors, even when those directors engage

  in that conduct with their employer, NS.

         The record contains more than enough evidence to allow the trier of fact to determine that

  NS-appointed NPBL directors acted as agents of NPBL when conducting NPBL business or

  directing the actions of NPBL itself. At a minimum, this is a fact issue that cannot be resolved on

  summary judgment. See Famous Knitwear, 493 F.2d at 253.




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                2.      The record contains ample evidence of conspiracy between NS and
                        NPBL, above and beyond the conduct of NS’s NPBL directors.

         There is no question that CSX has adduced overwhelming evidence of the conspiratorial

  agreement between NS and NPBL, and overt acts in furtherance of that conspiracy, particularly

  when accounting for the conduct of NS-appointed NPBL directors that is attributable to NPBL.

  See, e.g., CSX SOF ¶ 17 (evidence reflecting NS-appointed NPBL board member voting to

  disapprove rate that would benefit CSX at the behest of NS marketing personnel); id. ¶¶ 19-21, 24

  (communications reflecting NS-appointed rate committee members’ recommendations to NS-

  appointed NPBL directors to oppose favorable rate); id. ¶ 50 (communications between NPBL

  management and NS personnel regarding CSX’s efforts to use NPBL to access NIT). This is more

  than enough to permit the trier of fact to reasonably conclude that Defendants entered into a

  conspiratorial agreement, and that at least one of them committed an overt act in furtherance of

  that agreement.30 See Robertson, 679 F.3d at 289-90. Indeed, neither NS nor NPBL argues that

  there is insufficient evidence of a conspiracy if NS’s NPBL Board members are agents of NPBL

  when they act in their Board capacity. See NS Br. at 33-35, NPBL Br. at 22-30.

         Even without attributing the actions of NPBL Board members to NPBL, however, there

  remains ample evidence of conspiracy. Along with conduct by individual directors, CSX has

  identified evidence that the NS-controlled NPBL Board majority took actions—including official

  Board votes—in furtherance of Defendants’ unlawful conspiracy. See, e.g., CSX SOF ¶¶ 29, 40,

  71. CSX also has identified evidence that Belt Line management (including NPBL President

  Cannon Moss) participated in the conspiracy. See, e.g., CSX SOF ¶¶ 26, 50. NPBL’s lengthy


  30
    CSX must show only that either NS or NPBL committed an overt act in furtherance of the
  conspiracy. For this reason, NPBL’s laser-like focus on CSX’s answers to its Interrogatories Nos.
  3 and 4 (see NPBL Br. at 23-27)—which asked CSX to identify only conspiratorial
  “communication(s)” and “overt act(s)” by NPBL—is misplaced.
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  arguments about what inferences should be drawn from this evidence (NPBL Br. at 23-24, 27-30)

  simply underscore that summary judgment is inappropriate on CSX’s claims. Compare, e.g.,

  NPBL Br. at 28 (interpreting evidence related to CSX’s attempts to move traffic via NPBL in

  2015) with CSX SOF ¶¶ 45-54.

         At base, given NPBL’s purpose to connect its owners (NS and CSX) to terminals along its

  line, a jury could easily infer that NPBL’s refusal to engage with CSX’s proposals—which NPBL

  itself had concluded would make it money—are reflective of a conspiracy with NS, particularly

  given the evidence of NS’s involvement. See ECF No. 66 at 27 (“Although ultimately a merits

  question, courts have found that rejecting proposals which are in a company’s own interest and

  within the company’s power to accept may be evidence of, for instance, an antitrust conspiracy.”)

  (citing SourceOne Dental, Inc. v. Patterson Companies, Inc., 310 F. Supp. 3d 346, 357 (E.D.N.Y.

  2018) (in denying summary judgment, finding that “evidence that shows that the parallel acts were

  against the apparent individual economic self-interest of the alleged conspirators” may reflect “a

  common motive to conspire”)); ECF No. 66 at 33 (“Therefore, Norfolk Southern’s interest in

  maintaining a higher switch service rate, so that it can allegedly retain a virtual monopoly, diverges

  from Belt Line’s interest in encouraging the business of Belt Line for which it was formed.”).

             b. CSX’s state-law conspiracy claims are supported by ample record contains
                evidence of “wrongful or tortious” conduct (Counts VIII-IX).

         In arguing that CSX has not identified evidence of “unlawful” acts to support its conspiracy

  claims, Defendants misunderstand the standard for “wrongful or tortious” conduct underpinning

  these claims. CSX alleged wrongful or tortious conduct to support its Virginia conspiracy claims,

  and it now has sufficient evidence to support those allegations.

         First, Defendants argue that only conduct pled as a separate count can support a Virginia

  statutory business conspiracy claim. See NS Br. at 37, NPBL Br. at 30-31. The Court can quickly

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  dispense with this argument. The conduct underlying CSX’s conspiracy claims need not be a

  “tort” taught in the first year of law school. Virginia law requires only that CSX show that it

  suffered damages from “an act that is itself wrongful or tortious.”             Dunlap v. Cottman

  Transmission Sys., LLC, 754 S.E.2d 313, 317 (Va. 2014) (emphasis added).

              Moreover, contrary to Defendants’ suggestion, CSX need not show that all conspirators

  engaged in the underlying misconduct. “The object of a civil conspiracy claim is to spread liability

  to persons other than the primary tortfeasor.” Gelber v. Glock, 800 S.E.2d 800, 821 (Va. 2017).

  So “[t]here is no requirement that the party sued for civil conspiracy be the actual tortfeasor.” L-

  3 Commc’ns Corp. v. Serco, Inc., 926 F.3d 85, 92 (4th Cir. 2019) (applying Virginia law).

              The record contains evidence of many “wrongful or tortious” acts, including NS’s wrongful

  monopolization under the Sherman Act and the Belt Line’s individual directors’ violations of

  fiduciary duties.31 The state law conspiracy claims must remain.

       III.      CSX Has Properly Supported its Antitrust Claims (Counts I-IV).

                 a. NS is not absolved of Section 2 liability merely because NPBL was involved.

              NS contends that CSX cannot assert monopolization and attempted monopolization claims

  under Section 2 of the Sherman Act, because that section addresses only “unilateral conduct by a

  single firm.” NS Br. at 28. This argument fundamentally misunderstands CSX’s monopoly claims

  and the relevant law.

              A claim of monopolization under Section 2 of the Sherman Act requires, “in addition to

  the possession of monopoly power in the relevant market,” proof that the defendant willfully



  31
     Again, because the defendant in a conspiracy claim need not be the underlying tortfeasor, L-3
  Commc’ns, 926 F.3d at 92, it does not matter that the individual defendants were voluntarily
  dismissed from the case. Those co-conspirators were not dismissed for failure to state a claim,
  and the Court has never ruled that they did not breach their fiduciary duties, as CSX alleged and
  as the record supports. See ECF Nos. 143 (dismissal order).
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  acquired or maintained its monopoly through anticompetitive means, “as distinguished from

  growth or development as a consequence of a superior product, business acumen, or historic

  accident.’” Verizon Commc’ns v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004).

  Although “[a]nticompetitive conduct can come in too many different forms, and is too dependent

  upon context, for any court or commentator ever to have enumerated all the varieties,” Caribbean

  Broad. Sys. Ltd. v. Cable & Wireless PLC, 148 F.3d 1080, 1087 (D.C. Cir. 1998), Section 2 claims

  “usually involv[e] some assay by the monopolist into the marketplace—to limit the abilities of

  third parties to deal with rivals (exclusive dealing), to require third parties to purchase a bundle of

  goods rather than just the ones they really want (tying), or to defraud regulators or consumers.”

  Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1072 (10th Cir. 2013); see, e.g., Conwood Co., LP

  v. U.S. Tobacco Co., 290 F.3d 768 (6th Cir. 2002) (upholding $1.5 billion total jury award on § 2

  claims based in part on evidence that monopolist’s sales representatives persuaded third party

  retailers to remove or destroy rival’s product displays and exclude rival’s products from sales);

  U.S. v. Microsoft, 253 F.3d 34, 71 (DC Cir 2001) (approving monopolization claim premised on

  licensing arrangements prohibiting customers from engaging with competitors).

         NS cites no case suggesting otherwise. Neither Oksanen v. Page Memorial Hospital nor

  Midwest Gas Services, Inc. v. Indiana Gas Company considered whether a defendant could involve

  third parties in its monopolistic efforts, as both turned on other elements of a Section 2 claim. See

  Oksanen, 945 F.2d 696, 710 (4th Cir. 1991) (monopolistic intent); Midwest Gas, 317 F.3d 703,

  713 (7th Cir. 2003) (antitrust injury). And in Sun Dun, Inc. of Washington v. Coca-Cola Co., the

  court considered whether two competitors could engage in a “shared monopoly” for their joint

  benefit. See 740 F. Supp. 381, 391 (D. Md. 1990). That is not the situation here, where the




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  monopolist is NS, and the conduct at issue is not intended to benefit NPBL—in fact, NPBL has

  been harmed by NS’s monopolistic actions.32

                b. The record shows that NS has maintained an illegal monopoly at NIT, not
                   that NIT is an “essential facility” to which NS has denied access.

         NS argues at length that CSX cannot prove its monopoly claims under an “essential

  facilities” theory. See NS Br. at 28-33. But CSX has not pled—and need not rely on—a theory

  that NS has denied CSX access to an “essential facility” under its control. The parties agree that

  NIT, like other POV terminals, is owned by VPA and operated by VIT, both of which have

  endorsed CSX’s efforts to obtain on-dock access at NIT. See CSX SOF ¶¶ 81, 86, 100. And

  CSX’s efforts, as alleged in the Complaint and reflected in the record, have been in an attempt to

  access NIT via NPBL, not NS.

         CSX has asserted straightforward monopoly claims based on NS’s illegal maintenance of

  its monopoly at NIT, including through its conspiracy with NPBL to block CSX’s access to on-

  dock rail at NIT.      See ECF No. 1 ¶¶ 85-104.        NS cannot avoid the consequences of its

  anticompetitive actions by attempting to recast CSX’s claims under the “essential facilities”

  doctrine.33

                c. NS and NPBL conspired to restrain trade in violation of Section 1.

         Defendants’ arguments about CSX’s § 1 claim is also unpersuasive. To establish a



  32
    This is yet another argument in which NS seeks to have it both ways. It claims, on the one hand,
  that it cannot be responsible for actions by a third party (NPBL), while at the same time arguing
  that its appointed majority of that third party’s board “exercise control” over that third party. See
  ECF No. 116 at 9-10.
  33
     NS suggests briefly that, even outside the “essential facilities” doctrine, CSX has not shown that
  it was “substantially foreclosed” by Defendants’ conduct, because CSX has paid NPBL’s switch
  rate in other contexts and CSX’s market share increased over the relevant period. See NS Br. at
  32-33. These are issues of disputed fact that cannot be resolved on summary judgment. See CSX
  SOF ¶¶ 75, 99.
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  violation of § 1 of the Sherman Act, CSX must prove “(1) a contract, combination, or conspiracy;

  (2) that imposed an unreasonable restraint of trade.” N.C. State Bd. of Dental Exam’rs v. FTC,

  717 F.3d 359, 371 (4th Cir. 2013). The record contains substantial evidence of Defendants’

  conspiracy. See supra at 52-58. That concerted action has unreasonably restrained competition

  under either of the prevailing standards for evaluating challenged restraints: the per se standard or

  the “rule of reason.” See Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885-

  86 (2007).

                 1.      Defendants’ conduct is a per se violation of the Sherman Act.

         NS contends that Defendants’ conduct cannot be a per se violation of the Sherman Act

  because NS and NPBL are in a vertical relationship. See NS Br. at 35-36. Not so. It is undisputed

  that the only railroads capable of offering on-dock access at NIT are either NPBL or NS. In the

  context of that service, therefore, NS and NPBL are at a minimum potential horizontal competitors.

  Accordingly, their conspiracy to block CSX’s access to on-dock rail at NIT is a horizontal

  agreement that is per se illegal. See Lumber Liquidators, Inc. v. Cabinets To Go, LLC, 415

  F.Supp.3d 703, 712 (E.D. Va. 2019) (agreements between competitors or potential competitors to

  restrain trade are horizontal). That does not change simply because NPBL may have a vertical

  relationship to NS at other locations. Where, as here, the predominate nature of the restraint at

  issue is horizontal, the per se rule applies. See Continental T.V., Inc. v. GTE Sylvania, Inc., 433

  U.S. 36, 58 n.28 (1977) (certain restrictions originating from agreements between entities can be

  vertical in some contexts and horizontal in others).

                 2.      Defendants’ conduct is also a violation of the Sherman Act under the
                         Rule of Reason.

         Under the rule of reason, a factfinder must analyze “all of the circumstances of a case in

  deciding whether a restrictive practice should be prohibited as imposing an unreasonable restraint

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  on competition.” Continental T. V., 433 U.S. at 49. The focus of this analysis is the impact on

  competitive conditions in the relevant market, see Nat’l Soc’y of Pro. Engineers v. United States,

  435 U.S.679, 688-92 (1978), including “consideration of the facts peculiar to the business in which

  the restraint is applied, the nature of the restraint and its effect, and the history of the restraint and

  the reasons for its adoption,” United States v. Topco Assocs., Inc., 405 U.S. 596, 607 (1972), and

  whether the defendants have market power in the relevant market, Leegin Creative Leather Prods.,

  551 U.S. at 885-86; see also E.I. DuPont de Nemours and Co. v. Kolon Indus. Inc., 688 F. Supp.

  2d 443, 456 (E.D. Va. 2009).

                          (i)     CSX has defined a relevant market, and NS’s criticisms of that
                                  market turn on disputed facts.

          “[T]he definition of a relevant antitrust market is a highly fact-intensive inquiry,” Cont’l

  Airlines, Inc. v. United Air Lines, Inc., 120 F. Supp. 2d 556, 568 (E.D. Va. 2000), and NS’s

  arguments about the relevant market turn on issues of disputed fact. “The market definition has

  two components—the relevant product market and the relevant geographic market.” E.I. DuPont

  de Nemours and Co. v. Kolon Indus. Inc., 637 F.3d 435, 441 (4th Cir. 2011). Each piece of this

  analysis is “a fact-intensive exercise centered on the commercial realities of the market and

  competition.” Id. at 442, 443 n.3. Examining these “commercial realities” must include analyzing:

          where the parties market their products; the size, cumbersomeness, and
          perishability of the products; regulatory requirements impeding the free flow of
          competing goods into or out of the area; shipping costs and limitations; the area
          within which the defendant and its competitors view themselves as competing; and
          other factors bearing upon where customers might realistically look to buy the
          product.

  Id. at 442-43. The broad range of the results of these analyses shows the importance of each case’s

  particular facts. In part because of the “deeply fact-intensive inquiry” inherent in defining a

  market, id. at 443, “[t]he Supreme Court has counseled that summary judgment in antitrust


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  litigation should be used sparingly.” Ratino v. Med. Serv. of Dist. of Columbia (Blue Shield), 718

  F.2d 1260, 1268 n.23 (4th Cir. 1983) (citation omitted).

         NS seeks to paint a picture of a world in which ocean carriers can decide to send their ships

  to any port at any time and discharge their cargo to any form of transportation. Indeed, NS asserts

  that competition among ports along the East Coast invalidates CSX’s market definition. See NS

  Br. at 25. This distortion of reality has the benefit of avoiding any consequences from Defendants’

  anticompetitive conduct to block CSX from on-dock access at NIT. But in the real world, ocean

  carriers demand service at the Port of Virginia—including NIT specifically—and CSX must have

  on-dock rail access at NIT to be competitive for their business. See CSX SOF ¶¶ 81-86 Ocean

  carriers do not, as NS suggests, make a decision about railroad alignment and then on that basis

  decide to discharge cargo at the Port of Baltimore, or even the Port of NY/NJ, instead of at Port of

  Virginia. See CSX SOF ¶¶ 79-80. To the contrary, carriers make sophisticated decisions about

  port routing on the basis of many factors other than railroad alignment, including port costs, vessel

  productivity, and carrier alliances. See CSX SOF ¶¶ 78-79. The same is true within the Port of

  Virginia. Terminal selection at POV is driven by a variety of considerations, the least of which is

  railroad alignment. See CSX SOF ¶ 92. Indeed, the empirical data confirm that container traffic

  does not shift between NIT and VIG based on changes in railroad alignment. See CSX SOF ¶ 93.

  Accordingly, CSX must take ocean carriers’ choices of ports and terminals as given—and it must

  offer on-dock service at major terminals like NIT to compete for their business.

         The parties disagree on the factual underpinnings of the relevant market definition. For

  example, NS contends that CSX’s proffered geographic market disregards competition among

  various ports for discretionary cargo. See NS Br. at 24-26. But the record contains ample evidence

  that although ports may compete for this traffic, railroads have little ability to influence ocean


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  carriers’ choices about at which ports to call. See CSX SOF ¶¶ 79-80. NS also argues that NIT is

  interchangeable with other POV terminals, because VIT decides at which terminal carriers call.

  See NS Br. at 24. PMT and VIG are not reasonable substitutes for NIT, however, because the

  record shows that many factors other than rail alignment influence terminal selection. See CSX

  SOF ¶¶ 89-91. Indeed, VIT candidly admits that it cannot steer all CSX-aligned traffic away from

  NIT—a fact that the empirical data confirm. See CSX SOF ¶¶ 92-93. Finally, NS contends that

  CSX’s defined service market overlooks “end-to-end truck transportation” as a competitive

  alternative to rail. See NS Br. at 26. This argument ignores the great weight of the evidence,

  which reflects that trucks and rail do not compete for international intermodal freight traveling

  beyond local markets. See CSX SOF ¶¶ 95-98. As NS’s expert acknowledges, the major Midwest

  markets served from NIT are all are further than 500 miles, meaning trucks are not a reasonable

  competitive alternative. See CSX SOF ¶¶ 96-97; see also NS Ex. 71 ¶¶ 38-44. All of these factual

  disputes preclude summary judgment.

                         (ii)    NS’s monopoly power is also shown through ample evidence of
                                 actual harm to competition.

         Separate and apart from defining the relevant market, CSX can also prevail by

  demonstrating monopoly power directly. Defining the relevant market, and showing a defendant’s

  power within that market, allows an antitrust plaintiff to establish anticompetitive effect indirectly.

  See Law v. Nat'l Collegiate Athletic Ass'n, 134 F.3d 1010, 1019 (10th Cir. 1998). When the

  plaintiff can prove monopoly power “directly by showing actual anticompetitive effects, such as

  control over output or price,” however, there is no need to precisely define the relevant market.

  Id.; see also FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 460-61 (1986) (“Since the purpose of

  the inquiries into market definition and market power is to determine whether an arrangement has

  the potential for genuine adverse effects on competition, ‘proof of actual detrimental effects, such

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  as a reduction of output,’ can obviate the need for an inquiry into market power, which is but a

  ‘surrogate for detrimental effects.”). CSX need not specifically define the relevant market in this

  case, because the record shows that Defendants’ actions have resulted in actual anticompetitive

  harm to ocean carriers, regardless of the precise metes and bounds of the market. See CSX SOF

  ¶ 101; see also NS Ex. 7 ¶¶ 69-73, 78-81; NS Ex. 71 ¶¶ 78-81.

                         (iii)   CSX’s expert’s market definition matches the Complaint, and
                                 NS has shown no prejudice from any purported differences.

                 Finally, NS contends that the Court should grant summary judgment based on

  purported discrepancies between the market definition alleged in CSX’s complaint and that set

  forth in its expert’s report. See NS Br. at 21-22.

         As stated in CSX’s Complaint, the relevant geographic and service market at issue is rail

  freight transportation into and out of Hampton Roads’ intermodal port facilities. ECF No. 1 ¶¶ 49-

  50. As discussed at length in the Complaint, this case is about Defendants’ efforts to deny CSXT

  on-dock rail access at NIT and the resultant harm to CSX and the market. Id. ¶ 3 (Defendants have

  acted in concert to “maintain NS’s monopolistic control over intermodal transportation in and out

  of NIT by making it practically impossible for any other rail carriers to provide intermodal rail

  service to NIT.”); ¶ 54 (NS and NPBL have taken anticompetitve acts to “effectively deny[] CSXT

  access to NIT by rail in competition with NS”); ¶ 57 (Defendants conspired to set and maintain

  NPBL switch rates—which CSX must pay to access NIT—“at levels designed to exclude

  competition in the relevant market”); ¶ 79 (Defendants conspired to take actions to effectively

  foreclose CSX from using NPBL “to compete in the provision of multi-modal services at NIT,” in

  violation of § 1 of the Sherman Act).

         To the extent there was any question about the relevant market, CSX’s expert put a finer

  point on it in his February 25, 2020 expert report: “[T]he provision of on-dock access to NIT is a

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  relevant market.” NSR Ex. 7 at ¶ 12 (emphasis in original); see also id. ¶¶ 37-51 (describing the

  relevant market). NS’s expert understood CSX’s market definition and responded to it in his

  report, filed February 3, 2021. See NS Ex. 10 ¶ 49 (“This case involves the alleged foreclosure by

  NSR of CSXT’s rail access to one terminal, NIT, at the Port of Virginia.”) (citing ECF No. 1 ¶ 42).

  Given that CSX’s market definition has been clear since the Complaint was filed in October 2018,

  NS’s new protests that it has not been provided fair notice ring hollow.

          Even if there were a difference between the market definition pled by CSX and that

  articulated by Dr. Marvel (which there is not), Defendants cannot show they have been prejudiced

  as a result. Dr. Marvel’s description of the market is comfortably within the market defined by

  the Complaint, which not only referenced market share at NIT, but also contained numerous

  allegations related to NIT specifically—as this Court noted in assessing CSX’s allegations of

  antitrust injury at the motion to dismiss stage. See ECF No. 66 at 35; see also Four Corners

  Nephrology Assoc., P.C. v. Mercy Med. Ctr. of Durango, No. 05-2084, 2008 WL 2355533, at *4

  n.3 (D. Colo. May 22, 2008) (permitting plaintiffs to rely on a narrower market definition than

  plead in their complaint, given lack of prejudice to defendants).

          Moreover, due to the long stay in this case, Defendants conducted substantially all of their

  fact discovery with the benefit of Dr. Marvel’s report, including his detailed description and

  analysis of the relevant market. See ECF No. 254. NS’s expert likewise had a full year to

  formulate his response to Dr. Marvel’s report, and he directly addressed this issue. This is simply

  not a case in which a purported change to market definition surprised Defendants or prejudiced

  their defense in any way. See City of New York v. Group Health, Inc., 649 F.3d 151, 157-58 (2d

  Cir. 2011) (affirming refusal to permit plaintiff to amend its complaint to alter its market definition,

  noting that defendant would be prejudiced because of the need to conduct new discovery on a


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  “different and much broader market”). Summary judgment is thus inappropriate. See Precision

  Seed Co. v. Consol. Grain & Barge Co., No. 3:03cv079, 2006 WL 840377, at *11 (S.D. Ohio

  March 30, 2006) (refusing to grant summary judgment where market definition asserted by

  plaintiff’s expert was different than that pled in the complaint, finding defendant would suffer no

  prejudice if “new” definition were offered at trial).

         Further, the record contains ample evidence that NS dominates the market, whether

  evaluating its share at just NIT or at all Port of Virginia terminals. See CSX SOF ¶ 13 (NS has

  handled between      % and     % of international intermodal business at the Port of Virginia—and

  between     % and     % at NIT—between 2009 and 2020); see also E.I. DuPont de Nemours and

  Co. v. Kolon Indus. Inc., 688 F. Supp. 2d 443, 456 (E.D. Va. 2009) (noting monopoly power has

  been found where “the defendant controlled seventy to one hundred percent of the relevant

  market”). Indeed, in response to criticisms from NS’s expert, Dr. Marvel assessed harm to ocean

  carriers and calculated damages to CSX based on an alternative market definition comprising the

  Port of Virginia as a whole. See CSX SOF ¶¶ 101-102; NS Ex. 71 ¶¶ 122-23.

         If this Court concludes, however, that there is a meaningful divergence between the market

  definition in CSX’s Complaint and Dr. Marvel’s report, CSX can readily and quickly amend its

  Complaint, with leave of Court, to modify its market definition—a course of action approved in

  antitrust matters even at the late stage of trial. See, e.g., Ad-Vantage Tel. Directory Consultants,

  Inc. v. GTE Directories Corp., 849 F.2d 1336, 1342-43 (11th Cir. 1987) (permitting plaintiffs to

  amend complaint to allege different market because defendant failed to show prejudice).

                 3.      Defendants’ argument that the NPBL rate is “justified” rests on
                         disputed facts.

         NPBL argues that CSX has not shown that Defendants’ conduct “unreasonably restrained

  trade,” because, in its view, NPBL’s switch rate is “justified” by its costs. See NPBL Br. at 31-

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  36; see also NS Br. at 35. This argument fails. Contrary to NPBL’s suggestion, CSX’s claims do

  not “hinge” on the NPBL’s switch rate.34 As the record shows, Defendants have engaged in wide

  variety of anticompetitive conduct, including, but not limited to, setting and maintaining a switch

  rate excessive for intermodal traffic.          When deciding whether Defendants’ conspiracy

  unreasonably restrained trade in violation of the Sherman Act, the trier of fact must consider the

  totality of this conduct. See 3M, 324 F.3d at 162.

            The record also contains substantial evidence refuting NPBL’s suggestion that the $210

  rate is needed to cover its costs for service to NIT. See NS Ex. 71 ¶¶ 57-58 (noting that, because

  average costs would decline with additional traffic, charging a price per car sufficient to cover

  current average costs is unreasonable). In analyzing the Belt Line’s costs, NPBL’s expert makes

  no attempt to distinguish between fixed costs, which would not increase with additional traffic,

  and variable costs, which would. See NPBL Br. at 34 (citing NPBL Ex. 3 at Tbl. 5). As NPBL’s

  Cannon Moss testified, because fixed costs would not change, NPBL’s total cost per car would

  decrease as the number of cars handled increased. See CSX SOF ¶¶ XX. And both CSX and

  NPBL repeatedly determined that NPBL could cover its costs and gain incremental income by

  moving intermodal containers at a lower switch rate. See CSX SOF ¶¶ XX. These disputes of

  fact preclude summary judgment.

            NPBL’s reliance on Laurel Sand & Gravel, Inc. v. CSX Transp., Inc., 704 F. Supp. 1309,

  1323 (D. Md. 1989), is misplaced. See NPBL Br. at 34-37. In Laurel Sand, the court considered

  whether, in the context of an essential facilities claim, CSX had to offer the plaintiff trackage rights

  in lieu of the switch rate offered. See 704 F. Supp. at 1323. It determined that the rate offered by

  CSX ($0.01 per ton above its variable costs) was not so unreasonable as to amount to a denial of


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       Indeed, NS does not attempt to argue that this is the only conduct at issue. See NS Br. at 35-36.
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  access under an “essential facilities” theory. See id. As explained above, this is not an essential

  facilities case. See supra at 60-61. Nothing in Laurel Sand suggests that the Court can conclude

  that NPBL’s rate is justified by its costs as a matter of law—much less that Defendants’ conduct

  as a whole did not unreasonably restrain trade or improperly maintain NS’s unlawful monopoly.

     IV.      CSX’s Breach of Contract Claim (Count V) is Well-Supported

           NS breached its obligations under the NPBL Operating Agreement. Under Virginia law,

  “[t]he elements of a breach of contract action are (1) a legally enforceable obligation of a defendant

  to a plaintiff; (2) the defendant’s violation or breach of that obligation; and (3) injury or damage

  to the plaintiff caused by the breach of obligation.” Filak v. George, 594 S.E.2d 610, 614 (Va.

  2004). NS does not dispute that the Operating Agreement creates legally binding obligations

  between it and CSX; it contends that none of its actions breached a provision of the Operating

  Agreement. NS Br. at 37-40.

           NS has breached several provisions of the Operating Agreement. For example, the Tenth

  Article states that the parties to the agreement—that is, NS and CSX—“will co-operate cordially

  in encouraging the business of the [NPBL] for which it is constructed.” ECF No. 1-1 at 6. As this

  Court has noted, “cooperation clauses are generally enforceable.” ECF No. 66 at 42 (citing

  Feldman Prod., Inc. v. Indus. Risk Insurers, No. Civ.A. 3:09-0481, 2011 WL 4543966, at *4

  (S.D.W. Va. Sept. 29, 2011)). NS argues that NPBL, not CSX, would be the proper party to claim

  damages caused by a breach of this obligation—contrary to the express language of the Operating

  Agreement that NPBL operates “for the mutual benefit of each [shareholder] in the interchange of

  business.” NS Br. at 39; ECF No. 1-1 at 3. Indeed, the record evidence establishes that NS has

  failed to co-operate with CSX to encourage the business of NPBL, blocked CSX from using NPBL,




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  failed to act on proposals that would encourage the business of NPBL, insisted on actions that

  would harm NPBL, and induced its directors to do the same.

         NS has also breached the implied covenant of good faith and fair dealing, included in every

  contract governed by Virginia law. Enomoto v. Space Adventures, Ltd., 624 F. Supp. 2d 443, 450

  (E.D. Va. 2009).    In addition to certain of NS’s actions expressly violating the Operating

  Agreement, NS is also liable for breach of the Agreement if it exercised its “contractual discretion

  in bad faith.” Morrison v. Wells Fargo Bank, N.A., 30 F. Supp. 3d 449, 456 (E.D. Va. 2014).

  Courts have also held that the covenant is breached when a party has “act[ed] in such a manner as

  to prevent the other party from performing his obligations under the contract.” E. Shore Markets,

  Inc. v. J.D. Assocs. Ltd. P’ship, 213 F.3d 175, 183 (4th Cir. 2000). At the least, NS has prevented

  CSX from “deliver[ing] to the [NPBL] all cars to be interchanged with other Companies.” ECF

  No. 1-1 at 6. Ample evidence exists that NS breached the NPBL Operating Agreement.

                                           CONCLUSION

         For all these reasons, the Court should deny Defendants’ Motions.


  Dated: May 3, 2021                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I certify that on this 3rd day of May, 2021, a true and correct copy of the foregoing was

  served on all counsel of record via Notice of Electronic Filing by filing with the Court’s CM/ECF

  system.

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